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 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF NEVADA
 9
10
      MICHAEL RUTH, and OTILDA                        Case No.: 2:15-cv-00481
11    LAMONT, Derivatively on Behalf of
      CANNAVEST CORP.,
12
                      Plaintiffs,
13                                             SECOND AMENDED
      v.                                       SHAREHOLDER DERIVATIVE
14                                             COMPLAINT
      MICHAEL MONA, JR., BART P.
15    MACKAY, and LARRY RASKIN,
16                    Defendants,
17    and
18    CANNAVEST CORP., now known as
      CV Sciences, Inc.
19
                   Nominal Defendant.
20

21          Plaintiffs Michael Ruth and Otlida Lamont (“Plaintiffs”), by and through their
22 undersigned counsel, derivatively on behalf of Nominal Defendant CannaVest Corp.,

23 now known as CV Sciences, Inc. (“CannaVest” or the “Company”), submit this Second

24 Amended Shareholder Derivative Complaint (the “Complaint”). Plaintiffs’ allegations

25 are based upon their personal knowledge as to themselves and their own acts, and upon

26 information and belief, developed from the investigation and analysis by Plaintiffs’

27 counsel, including a review of publicly available information, including filings by

28 CannaVest with the U.S. Securities and Exchange Commission (“SEC”), press releases,

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 1 news reports, analyst reports, investor conference transcripts, publicly available filings

 2 in lawsuits, and matters of public record.

 3                               NATURE OF THE ACTION
 4         1.      This is a shareholder derivative action brought in the right, and for the
 5 benefit, of CannaVest against certain of its officers and directors seeking to remedy the

 6 Individual Defendants’ (as defined below) breach of fiduciary duties and gross

 7 mismanagement that occurred from May 20, 2013 through the present (the “Relevant

 8 Period”) and have caused substantial harm to CannaVest.

 9                                      JURISDICTION
10         2.      This Court has jurisdiction over the claims asserted herein under 28
11 U.S.C. § 1332 because there is complete diversity among the parties and the amount in

12 controversy exceeds the sum of $75,000, exclusive of interest and costs.

13         3.      Venue is proper in this Court because the Company maintains its
14 executive office in this county, a substantial portion of the transactions and wrongs

15 complained of herein occurred in this county, and the Individual Defendants have

16 received substantial compensation in this county by doing business here and engaging in

17 numerous activities that had an effect in this county.

18                                       THE PARTIES
19         4.      Plaintiff Michael Ruth (“Ruth”) is, and was at relevant times, a
20 shareholder of CannaVest. Plaintiff Ruth will fairly and adequately represent the

21 interests of the shareholders in enforcing the rights of the corporation. Plaintiff Ruth is a

22 resident of the State of Maryland. Plaintiff Ruth currently holds CannaVest shares as of

23 the filing of this Complaint.

24         5.      Plaintiff Otilda Lamont (“Lamont”) is, and was at relevant times, a
25 shareholder of CannaVest. Plaintiff Lamont will fairly and adequately represent the

26 interests of the shareholders in enforcing the rights of the corporation. Plaintiff Lamont

27 is a resident of the State of New York. Plaintiff Lamont currently holds CannaVest

28 shares as of the filing of this Complaint.

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 1         6.      Nominal Defendant CannaVest manufactures, markets, and sells
 2 products containing industrial hemp-based compounds, including cannabidiol (CBD),

 3 one of the cannabinoids found in hemp. CannaVest is incorporated in Delaware and

 4 headquartered at 2688 South Rainbow Blvd., Suite B, Las Vegas, Nevada 89146.

 5 Further, because CannaVest is incorporated in Delaware, Delaware law applies.

 6         7.      Article III of CannaVest’s Certificate of Incorporation states: “The
 7 purpose of the Corporation is to engage in any lawful act or activity for which a

 8 corporation may be organized under the General Corporation Law of Delaware

 9 (“DGCL”).
10         8.      Defendant Michael Mona, Jr. (“Mona”) was, at all relevant times, the
11 President, Chief Executive Officer (“CEO”) and a Director of the Company. Defendant

12 Mona was appointed as President, Secretary and Treasurer of the Company on

13 November 16, 2012, and as a Director on January 28, 2013. Defendant Mona resigned

14 as Secretary and Treasurer and was appointed CEO on July 25, 2013. Defendant Mona

15 is a resident of the State of Nevada. Defendant Mona is also a member of Roen

16 Ventures, LLC (“Roen Ventures”).

17         9.      Before becoming President of CannaVest in November 2012, Mona, Jr.
18 was associated with Medical Marijuana, Inc. A corporate brochure published by

19 CannaVest states that “Mr. Mona worked as a consultant to Medical Marijuana Inc. until

20 early 2013 when he was named President and CEO of CannaVest Corp.” See also

21 Thomas H. Clarke, “Hemp Oil Hustlers: Project CBD Investigates Makers of RSHO,”

22 The Daily Chronic at 12 and n.52 (Oct. 15, 2014) (citing SupplySide West 2014 expo

23 list of speakers, Side West website). During the Relevant Period, Mona, Jr. was a 4%

24 owner of Medical Marijuana, Inc.

25         10.     According to the Company’s SEC filings, “Mr. Mona possesses over 25
26 years of experience in the field of construction, investments and project development,

27 holding various senior positions in these fields since 1987. Since 1994, Mr. Mona has

28 served as the President of M&M Development, Inc. and in such role has overseen the

                                              3
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 1 construction and operation of various apartment projects, hotels and recreational vehicle

 2 parks throughout Las Vegas, Nevada.” Mona, Jr.’s son, Michael Mona, III (“Mona III”)

 3 was appointed Vice President of Operations at CannaVest on or about July 25, 2013.

 4 Prior to joining the Company, Mona III was Vice President, Product Development for

 5 Medical Marijuana, Inc., and was responsible for the development and testing of hemp-

 6 based products.

 7         11.     On November 16, 2012, non-parties Mai Dun Limited, LLC, Mercia
 8 Holdings, LLC, General Hemp, LLC and Bamburgh Holdings, LLC (the “Buyers”),

 9 acquired a total of 6,979,900 shares of the Company’s common stock in a series of
10 private transactions. Upon consummation of the transactions, the Buyers collectively

11 acquired 99.7% of the Company’s total issued and outstanding shares of common stock.

12         12.     Defendant Bart P. Mackay (“Mackay”) has been a Director of the
13 Company since March 14, 2013. As of May 31, 2013, Mackay beneficially owned

14 64.3% of CannaVest’s common stock. As of March 28, 2014, MacKay owned 54.29%

15 of the Company’s common stock.

16         13.     Mackay, a member of the CannaVest Board, both individually and
17 through Mackay Ventures LLC (formerly Mackay Ventures, Inc.), was during the

18 Relevant Period the sole member of each of Mai Dun Limited, LLC and Mercia

19 Holdings, LLC, which each own a 50% interest in Roen Ventures LLC (“Roen

20 Ventures”).

21         14.     As of June 27, 2014, Mackay Ventures, Inc. owned 1,100,000 shares of
22 CannaVest’s common stock. Mercia Holdings, LLC and Mai Dun Limited, LLC are

23 members of Roen Ventures. Defendant Mackay, the manager of Roen Ventures and Mai

24 Dun Limited, LLC and the sole shareholder, officer and director of MacKay Ventures

25 Inc., is deemed to have shared voting and investment power over the shares of

26 CannaVest common stock owned by Roen Ventures, Mai Dun Limited, LLC and

27 ///

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 1 Mackay Ventures Inc.        Defendant Mackay is a member of the Compensation
 2 Committee. Defendant Mackay is a resident of the State of Nevada.

 3         15.     Mackay is an attorney licensed since 1984 with emphasis in corporate
 4 finance, technology and entrepreneurial legal matters. According to CannaVest’s SEC

 5 filings, Mackay has extensive experience in establishing and developing new enterprises

 6 both from management and operational aspects, including the formation and growth of

 7 several of his own ventures.

 8         16.     Defendant Larry Raskin (“Raskin”) was appointed a Director of the
 9 Company on May 7, 2014. During the Relevant Period, Raskin was a member of the
10 Compensation Committee. Defendant Raskin is a resident of North Carolina.

11         17.     Mr. Raskin has been the Global Vice President of Leadership
12 Development of ACN Inc., a telecommunications company, since 2012. Mr. Raskin

13 joined ACN Inc. in 1994 and has held various positions in the company, including Vice

14 President of Sales North America from 2001 to 2006 and Senior Vice President in 2012

15 prior to stepping into his current position. Prior to joining ACN Inc., Mr. Raskin was a

16 National Marketing Director at National Safety Associates of Memphis, Tennessee from

17 1988 to 1994. According to CannaVest’s SEC filings, Mr. Raskin’s extensive business

18 background made him a valuable addition to the Board.

19         18.     Defendants Mona, MacKay, and Raskin are collectively referred to
20 hereinafter as the “Individual Defendants.”

21         19.     According to CannaVest’s SEC filings, other than the Compensation
22 Committee, it did not have any other committees of the Board, including an Audit

23 Committee or a Nominating Committee, or any other committees performing similar

24 functions. According to CannaVest’s SEC filings, the functions of those committees are

25 being undertaken by the Board of Directors as a whole.

26 ///

27 ///

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 1         20.     CannaVest, Roen Ventures, and Mona Co. Development (an entity owned
 2 by Defendant Mona) all share the same address, the Wilson Building, located at 2688 S.

 3 Rainbow Blvd., Las Vegas, NV.

 4         21.     Non-Party Stuart Titus (“Titus”) is the CEO and controlling shareholder
 5 of Medical Marijuana, Inc. The financing for the acquisition of CannaVest, including the

 6 interest acquired by Mackay, was provided by Titus who received 7.1% of CannaVest’s

 7 common shares. In the time period of January through March of 2014, Titus sold shares

 8 of CannaVest common stock he had acquired for a nickel at prices ranging from $40.76

 9 per share to $166.17 per share, pocketing $7 million. Titus served as a consultant and
10 advisor to CannaVest and was and is a holder of CannaVest common stock. For the year

11 ended 2013 CannaVest disclosed that “[t]he Company paid a total of $30,000 to Mr.

12 Stuart Titus, a stockholder of the Company, for consulting services provided.”

13         22.     Non-Party Michael Llamas (“Llamas”) was the former owner of Medical
14 Marijuana, Inc. Llamas resigned from Medical Marijuana, Inc. after he was indicted for

15 a $10 million mortgage fraud. Nevertheless, upon information and belief, throughout the

16 Relevant Period Llamas continued to participate in the behind the scenes management of

17 both Medical Marijuana, Inc. and CannaVest. Mr. Llamas pled guilty to criminal

18 charges in the action captioned USA v. Llamas, 2:12-cr-00315 (E.D. Calif) but died

19 when he crashed his Lamborghini in a one car accident while awaiting sentencing.

20                  CODE OF BUSINESS CONDUCT AND ETHICS
21         23.     As members of the CannaVest Board of Directors (the “Board”), the
22 Individual Defendants were held to the highest standards of honesty and integrity and

23 charged with overseeing the Company’s business practices and policies and of assuring

24 the integrity of its financial and business records.

25         24.     The conduct of the Individual Defendants complained of herein involves a
26 knowing and culpable violation of their obligations as directors and officers of

27 CannaVest, the absence of good faith on their part, and a reckless disregard for their

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 1 duties to the Company and its investors that the Individual Defendants were aware posed

 2 a risk of serious injury to the Company.

 3         25.     As noted above, the Company does not have an Audit Committee or a
 4 Nominating Committee, or any other committee performing a similar function. The

 5 functions of these committees are being undertaken by the Board as a whole.

 6         26.     On June 16, 2014, a Compensation Committee was formed by approval of
 7 the Board. The following directors are members of the Compensation Committee:

 8 Mackay and Raskin.

 9                   DUTIES OF THE INDIVIDUAL DEFENDANTS
10         27.     By reason of their positions as officers and/or directors of the Company,
11 and because of their ability to control the business and corporate affairs of CannaVest,

12 the Individual Defendants owed CannaVest and its investors the fiduciary obligations of

13 trust, loyalty, and good faith. The obligations required the Individual Defendants to use

14 their utmost abilities to control and manage CannaVest in an honest and lawful manner.

15 The Individual Defendants were and are required to act in furtherance of the best

16 interests of CannaVest and its investors.

17         28.     Each director of the Company owes to CannaVest and its investors the
18 fiduciary duty to exercise loyalty, good faith, and diligence in the administration of the

19 affairs of the Company and in the use and preservation of its property and assets. In

20 addition, as officers and/or directors of a publicly held company, the Individual

21 Defendants had a duty to promptly disseminate accurate and truthful information with

22 regard to the Company’s operations, finances, and financial condition, as well as present

23 and future business prospects, so that the market price of the Company’s stock would be

24 based on truthful and accurate information.

25         29.     To discharge their duties, the officers and directors of CannaVest were
26 required to exercise reasonable and prudent supervision over the management, policies,

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 1 practices, and internal controls governing the affairs of the Company. By virtue of such

 2 duties, the officers and directors of CannaVest were required to, among other things:

 3               (a)     ensure that the Company complied with its legal obligations and
 4         requirements, including acting only within the scope of its legal authority and
 5         disseminating truthful and accurate statements to the SEC and the investing
 6         public;
 7               (b)     conduct the affairs of the Company in an efficient, businesslike
 8         manner so as to make it possible to provide the highest quality performance of its
 9         business, to avoid wasting the Company’s assets, and to maximize the value of
10         the Company’s stock;
11               (c)     properly and accurately guide investors and analysts as to the true
12         financial condition of the Company at any given time, including making accurate
13         statements about the Company’s business prospects, and ensuring that the
14         Company maintained an adequate system of financial controls such that the
15         Company’s financial reporting would be true and accurate at all times;
16               (d)     remain informed as to how CannaVest conducted its operations, and,
17         upon receipt of notice or information of imprudent or unsound conditions or
18         practices, make reasonable inquiries in connection therewith, take steps to correct
19         such conditions or practices, and make such disclosures as necessary to comply
20         with federal and state securities laws;
21               (e)     ensure that the Company was operated in a diligent, honest, and
22         prudent manner in compliance with all applicable federal, state and local laws,
23         and rules and regulations; and
24               (f)     ensure that all decisions were the product of independent business
25         judgment and not the result of outside influences or entrenchment motives.
26         30.       Each Individual Defendant, by virtue of his position as a director and/or
27 officer, owed to the Company and to its shareholders the fiduciary duties of loyalty,

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 1 good faith, and the exercise of due care and diligence in the management and

 2 administration of the affairs of the Company, as well as in the use and preservation of its

 3 property and assets. The conduct of the Individual Defendants complained of herein

 4 involves a knowing and culpable violation of their obligations as directors and officers

 5 of CannaVest, the absence of good faith on their part, and a reckless disregard for their

 6 duties to the Company and its shareholders that the Individual Defendants were aware,

 7 or should have been aware, posed a risk of serious injury to the Company.

 8         31.     The Individual Defendants breached their duties of loyalty and good faith
 9 by causing the Company to issue false and misleading statements concerning the
10 financial condition of the Company. As a result, CannaVest has expended, and will

11 continue to expend, significant sums of money related to investigations and lawsuits.

12                                     BACKGROUND
13         32.     On April 16, 2012, a news article reported that CannaBank sold an 80%
14 interest in PhytoSphere Systems (“PhytoSphere”) to Medical Marijuana, Inc. (“MJNA”)

15 for $2.5 million (http://www.altassets.net/private-equity-news/by-news-type/deal-

16 news/cannabank-sells-phytosphere-systems-to-medical-marijuana.html).                  This
17 information was later confirmed in an article, “CannaBank Takes Hit Of $2.5M Sale”,

18 (http://blogs.wsj.com/privateequity/2012/04/13/cannabank-takes-hit-of-2-5m-sale/),

19 which notes that Llamas, acting on behalf of MJNA as its President, purchased

20 PhytoSphere for $2.5 million from CannaBank.

21         33.     On February 15, 2013, Seeking Alpha published an in-depth analysis of
22 MJNA and the individuals at its helm. The analysis, “Chronically Criminal: Shielding

23 The Public From Medical Marijuana” (http://seekingalpha.com/article/1187411-

24 chronically-criminal-shielding-the-public-from-medical-marijuana)         disclosed    the
25 following information regarding Llamas:

26               According to multiple Medical Marijuana filings, Mr.
27               Michael Llamas (age 28) has served as President and Director
                 of the Company and also indirectly controls 48% of the
28

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 1                Company through his beneficial ownership of Hemp Deposit
 2
                  and Distribution Corp. Also, according to multiple Medical
                  Marijuana filings, Mr. Michael Llamas’ sole prior business
 3                experience was founding North America Companies LLC, a
 4                real estate development and acquisitions firm specializing in
                  distressed debt that completed “in excess of ten billion dollars
 5                in transactions.” Notably absent from Medical Marijuana
 6                filings is any discussion of Mr. Michael Llamas prolific prior
                  indictments for fraud and financial shenanigans.
 7

 8                First, on 09/14/12, Mr. Michael Llamas was indicted by the
                  United States for the Eastern District of California along with
 9                six other individuals for a case involving 19 counts of Mail
10                Fraud and 31 counts of Wire Fraud related to a mortgage
                  fraud scheme that caused more than $10mm in losses to
11                mortgage lenders and others. According to the indictment,
12                Mr. Michael Llamas would approach builders of new homes
                  and developers of condominiums to purchase investment
13                homes in bulk at substantial price discounts ranging from 30
14                to 50 percent off under the terms of an “option contract.”
                  Mr. Michael Llamas had no financial ability and no intention
15                of purchasing the homes; rather, the homes were to be sold to
16                an associate’s nominee members at full price. Mr. Michael
                  Llamas then arranged for an affiliated mortgage company,
17                Nationwide Lending Group (NLG), to sell mortgage loans for
18                the nominees with banks and other lenders at the full price of
                  the homes without disclosing the large price discount.
19                Lenders were thereby misled into advancing loans that far
20                exceeded their lending guidelines. Also, the large option
                  contract price discount was used to conceal the lack of
21                required down payments by nominee buyers. Mr. Michael
22                Llamas then split what remained of the price discount after
                  subtraction of the fake down payments and certain fees with
23                his cronies. In addition, Mr. Michael Llamas induced at least
24                one home builder to record false liens in favor of one of their
                  entities, Cobalt One LLC, for millions of dollars in bogus
25                loans to cover up large payments from an associated firm to
26                Cobalt One. If convicted, the Mr. Michael Llamas and the
                  other defendants face a maximum statutory penalty for each
27                violation of mail and wire fraud of 20 years in prison, a
28                $250,000 fine, and a three-year term of supervised release.

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 1                As of 12/11/12, Mr. Michael Llamas has been released on bail
 2
                  pending trial.

 3                On 09/17/12, just three days after being indicted by the
 4                Eastern District of California, Mr. Michael Llamas announced
                  a “leave of absence effective immediately” from Medical
 5                Marijuana in order to “focus his attention on personal
 6                business matters.” However, Mr. Michael Llamas signed off
                  and certified the Medical Marijuana 09/30/12 Financial and
 7                Information Disclosure Statement as the Company’s
 8                “President. This is one of many reasons why we believe the
                  MJNA financials are fraudulent and most likely fabricated.
 9
10                More interesting is the fact that on 09/30/12 and 12/02/12,
                  Mr. Michael Llamas and Mr. Michael Corrigan, Esq.
11                (MJNA’s external counsel), respectively, certified that no
12                members of the Company’s management team had been
                  subject to “a conviction in a criminal proceeding or named as
13                a defendant in a pending criminal proceeding in the past five
14                years.” This appears to be a blatant fabrication in regards to
                  Mr. Michael Llamas’ prior court records. Moreover, this
15                clearly violates the OTC Pink Basic Disclosure Guidelines
16                Section 8B.1.
17                Next, on 12/05/07, Mr. Michael Llamas was sued by Mr. and
18                Mrs. David Villar in the United States Bankruptcy Court for
                  the Northern District of California for the Fraudulent Transfer
19                of the couple’s home in San Mateo California via a $830k
20                purchase option agreement (Case No. 05-35167 TCLS)
                  (Appendix E). While the matter was eventually privately
21                settled, it appears Mr. Michael Llamas was forced to pay
22                restitution to the Villars.
23                Similarly, on 12/08/06, Mr. Michael Llamas (who was 22 at
24                the time), was arrested by the Tracy, California police
                  department on charges of forgery, grand theft, financial elder
25                abuse and conspiracy. Specifically, Mr. Michael Llamas was
26                accused of hoodwinking an elderly couple into believing they
                  had negotiated a reverse mortgage based on the $485k equity
27                value of their home, but instead transferred the title of the
28

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 1                property to an entity Llamas controlled for de minimis
 2
                  consideration.

 3                Mr. Michael Llamas seems to have engaged in such extensive
 4                mortgage fraud schemes against so many other unsuspecting
                  victims that an anonymous blog was created in 2009
 5                dedicated to tracking his activities. More information is
 6                available via: http://mikellamas.blogspot.ca/

 7                In summary, based on Mr. Michael Llamas’ exhaustive
 8                history of mail, wire, and mortgage fraud, it is inconceivable
                  he could effectively serve as a President and Director of a
 9                $370mm publicly traded company. In this case, the reality of
10                the situation is even worse as Mr. Michael Llamas is not only
                  the President and Director of Medical Marijuana, Inc., but
11                also the largest and controlling shareholder. We have good
12                reason to believe that Mr. Michael Llamas is directly involved
                  in the liquidation of the free trading shares and will cover this
13                in more detail the next section.
14
                                          *      *       *
15

16                In addition to all this, we discovered today that PhytoSphere
                  (OTC: PHOT), a direct subsidiary of MJNA, paid $100K in
17                cash to bail Michael Llamas from jail. This was never
18                disclosed as it should have been in the 12/31 “Audit” and is
                  yet another example of fraud perpetrated by MJNA.
19

20          34.    As noted above, Llamas purportedly left MJNA on September 17, 2012,
21 after his indictment, but continued to unofficially run the company (and sign official

22 company documents).         Thereafter, Llamas’ hand-picked President and CEO of
23 CannaVest, Mona, followed in Llamas’ footsteps.

24          35.    Information on the formation of CannaVest and the involvement of
25 Defendant Mona, Defendant MacKay, Titus, Llamas can be found in an article published

26 in Forbes on April 14, 2014 entitled, “Inside the Pot Stock Bubble,” which provided in

27 part:

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 1          When Michael Mona Jr. went before the Nevada Gaming Control Board
 2
            seeking a license for his Mediterranean-style Sunrise Suites hotel and
            casino in Las Vegas, it didn’t go well. The board, reportedly wary of his
 3          ties to shady telemarketers, including one who spent time in jail, told Mona
 4          his application would be rejected. He in turn withdrew his application and
            subsequently filed for personal bankruptcy when the casino could not open.
 5

 6          Mona might not be fit for the gambling business, but 16 years later he has
            found a lucrative field that’s not as choosy: the pot penny stock business.
 7          Mona now runs CannaVest, the highest-flying stock in one of the year’s
 8          biggest market frenzies. With Colorado and Washington now permitting
            the sale of marijuana for recreational use, and 20 states allowing it
 9          medically, some 60 publicly traded outfits, many snarled in a tangled,
10          difficult-to-track web of interconnections, have popped up, claiming to be
            pot and hemp stocks. Almost none, mind you, emerged via an IPO and all
11          the pesky disclosure and scrutiny that come with that path. Instead, real
12          estate, marketing and oil outfits have miraculously morphed into medical
            marijuana and hemp companies, either through reverse mergers or simply
13          changing their declared line of business. And just about every single one is
14          thinly traded on the over-the-counter bulletin board, or Pink Sheets, where
            promoters can push them with the enthusiasm of a campus dealer.
15

16                                             ***
            The genesis of CannaVest–and the pot-stock frenzy overall–can be traced
17          to Bruce Perlowin. He knows the business well: He spent nine years in
18          prison for drug smuggling. With another ex-con, Don Steinberg (who also
            went to jail for drug smuggling), Perlowin started the first publicly traded
19          medical marijuana company in 2009. He got the idea after a CNBC
20          documentary called Marijuana Inc. featured Perlowin’s drug-smuggling
            past. After it aired Perlowin was bombarded with calls and investment
21          proposals.
22
            Perlowin and Steinberg already controlled a company that sold debit cards
23          and traded on the Pink Sheets, Club Vivanet. “Is there any sizzle in debit
24          cards?” Perlowin asks FORBES rhetorically. “There was so much sizzle in
            medical marijuana.” To remove any nuance he renamed his company
25          Medical Marijuana and was issued 40 million shares by the board.
26
            What followed has been a textbook example of how to create buzz through
27          wheeling and dealing with related vehicles. When Perlowin oversaw it,
28          Medical Marijuana didn’t actually do much, offering educational seminars

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 1          and consulting services. Then, in 2011, Medical Marijuana sold a huge
 2
            stake by issuing 260 million shares to a privately held investment vehicle,
            Hemp Deposit & Distribution Corp., run by Michael Llamas, then 26.
 3

 4          Llamas became Medical Marijuana’s president. Assets began moving
            back and forth between the companies he ran, creating at least the
 5          appearance of progress. For instance, in April 2012 Medical Marijuana
 6          acquired 80% of a Hemp Deposit business called PhytoSphere, which
            was billed by Llamas in a press release as a biotech outfit that produces
 7          hemp-based products for pharmaceutical markets.
 8

 9          Llamas also created a joint venture for Medical Marijuana with Dixie
            Elixirs & Edibles, a Colorado-regulated manufacturer of medical-
10          marijuana-infused products. Vincent “Tripp” Keber, the man behind Dixie
11          Elixirs, hopped on Medical Marijuana’s board and soon appeared on 60
            Minutes as the darling poster boy of the “green rush” going on in Colorado.
12          (Keber would be arrested for marijuana possession in Alabama in 2013.)
13          Frustrated casino developer Mona quickly joined the gang at Medical
            Marijuana, taking a stake in the company and sitting on the management
14          committee overseeing the Dixie joint venture.
15
            Medical Marijuana’s stock price shot from 3 cents to 20 cents. But the
16          party stalled in September 2012 after a federal grand jury indicted Llamas
17          as part of an alleged $10 million mortgage fraud. Llamas pleaded not guilty
            but resigned from Medical Marijuana–just as the SEC started investigating
18          it.
19
            Time to start fresh. Within a few weeks Mona left Medical Marijuana to
20          become CEO of CannaVest, a new company that Mackay, the paper
21          billionaire, created by using companies he owned to buy control of a
            penny stock company in the foreclosure business. New name, same
22          game. Mackay’s share purchases were financed by a Florida
23          physiotherapist named Stuart Titus, who–surprise!–had helped Perlowin
            raise capital for Medical Marijuana. Titus also backs a hemp multilevel
24          marketing company.
25
            Titus put $375,000 behind Mackay’s CannaVest play and also got
26          millions of CannaVest’s shares. CannaVest then agreed to buy the assets
27          of PhytoSphere from Medical Marijuana and Llamas’ Hemp Deposit for
            $35 million in cash or stock. Follow all this? Few people can–a fact that
28

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 1          Mona himself apparently alluded to. “Your reference to this being a
 2
            ‘shell game’ is offensive,” a Dixie Elixirs executive wrote to Mona last
            year in an e-mail obtained by FORBES. “I request you not say it again.”
 3

 4          Shell game. Three-card monte. Or just a flurry of dealmaking between
            related companies that happen to be publicly traded. Whatever you call it,
 5          CannaVest’s shares were poised to take off–and the architects stood ready
 6          for a great windfall.

 7                                              ***
 8
                  The one thing that isn’t murky here: the fortunes being made by
 9                those at CannaVest.
10
                  Of course, there’s Mackay. Even with the stock at $68, he’s recently
11                been able to convert loans into 10 million shares–at 60 cents each.
12                That 100-fold arbitrage is the large driver of his “billionaire” status.
                  His pals Mona, the CannaVest CEO, and Llamas, the kid who ran its
13                forerunner before he was indicted, helped him pull it off.
14
            Here’s how: Last year an entity called Roen Ventures agreed to lend $6
15          million to CannaVest. According to a recent lawsuit against Mona in
16          Nevada, filed as part of a $17.8 million judgment related to a land
            transaction, Mona and Llamas had formed Roen. According to the lawsuit,
17          Mona had personally put up half that loan–and then sold his interest in
18          Roen to Mackay for $500,000. Mackay acknowledges buying out Llamas.
            And then he converted Roen Ventures’ loans to 10 million shares of
19          CannaVest stock at 60 cents a share. Voil?! More than $1 billion at the
20          recent share price, when you include all the shares he owns.
21          Another winner: Titus, the physiotherapist down in Florida, who had
22          bankrolled Mackay at CannaVest–and worked to finance Medical
            Marijuana before that. This year he’s been turning his paper profits into
23          actual cash, taking CannaVest shares he had bought for a nickel each
24          and selling them for as much as $150 a share, and pocketing $7 million,
            an SEC filing shows. “I have to say that, you know, this has turned out
25          quite nicely,” Titus tells FORBES in an interview. Meantime, Mona’s son
26          owns 1.25 million shares.
27 (Emphasis added).

28

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 1          36.     A more detailed history of CannaVest and its connection with Medical
 2 Marijuana, Inc. and the other players involved in Defendants’ breach of fiduciary duties

 3 is told in an expose authored by Project CBD 1 and published by the Daily Chronic on

 4 October 15, 2014. Thomas H. Clarke, “Hemp Oil Hustlers: Project CBD Investigates

 5 Makers of RSHO,” The Daily Chronic (Oct. 15, 2014). A large part of the expose

 6 focuses on the potentially contaminated and unsafe products these companies were/are

 7 manufacturing and/or peddling, the substance of which will not be recounted here. The

 8 well-sourced expose provides in part:

 9          In 2011, Michael Llamas purchased majority ownership in Medical
10          Marijuana Inc. through another firm he controlled, the Hemp Deposit and
            Distribution Corporation. Stock market analysts would soon raise questions
11          about Medical Marijuana Inc.’s new, young owner, who had a shoddy
12          financial history involving complex mortgage fraud, according to federal
            investigators. [Id. at 9]
13

14                                             ***

15          Soon after Llamas was indicted [in September 2012] for mortgage fraud,
16          Medical Marijuana Inc. announced that he had resigned as interim
            president and CEO. But he continued to be a major shareholder in the
17          company. With Llamas calling the shots from behind the scenes, Medical
18          Marijuana Inc. would morph into a high-profile umbrella corporation
            with significant holdings in at least seven different subsidiaries, each at
19          varying levels of capitalization. [Id.]
20
                                               ***
21

22          An umbrella corporation like Medical Marijuana Inc., with a complicated
            network of portfolio companies, can impress outsiders the same way a frill-
23

24
      1
25
          According to its website, Project CBD is a California-based nonprofit dedicated to
   promoting and publicizing research into the medical uses of cannabidiol (CBD) and
26 other components of the cannabis plant. It purports to provide educational services for

27
   physicians, patients, industry professionals, and the general public.

28

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 1          necked lizard wards off predators: by making itself seem bigger (and thus
 2
            more credible) than it actually is. MJNA stitched together a network of
            subsidiaries and affiliates, which grew to include HempMeds PX, Red Dice
 3          Holdings, Dixie Botanicals, PhytoSphere Systems, Kannaway, CanChew
 4          BioTechnologies, Canpia Holdings, Ace Hydro, KannaLife Sciences, and
            Wellness Managed Services. [Id. at 10]
 5

 6          Medical Marijuana Inc. often cited these entities as sources of revenue, but
            some of them appear to be illusory. For example, MJNA asserted in a press
 7          release that its collection of health and wellness facilities operated by
 8          Wellness Managed Services experienced “an accumulative 3941% revenue
            increase” throughout 2011, but it’s hard to figure out exactly how that
 9          happened. The website for Wellness Managed Services contains distorted
10          stock photos and typos on the “About” page and appears not to have been
            updated in two years. Phone calls to Wellness Managed Services by Project
11          CBD were routed back to Medical Marijuana Inc.’s line, which never
12          returned our messages.‡ [Id.]

13                                              ***
14
            The complex enmeshing of “shell companies”— companies that act as
15          vehicles for business transactions without actually having any assets or
16          operations themselves—is another hallmark of pump and dump schemes,
            says Seattle-based Canna Law attorney Robert McVay. [Id. at 11]
17

18          “Novice investors will see the complicated structures and holding
            companies that have a bunch of shell companies attached to them, and
19          [then] people put trust in these companies because they seem large and
20          professional,” McVay told Project CBD. [Id.]
21          Corporate start-ups can also bolster their legitimacy—or shroud their stock
22          market schemes—by entering into strategic relationships with affiliate
            firms whose public image is mutually enhanced by the partnership.
23          Companies reference each other in their press releases, McVay explained,
24          “and they’re able to pump each other up in terms of how they’re doing.
            You see it a lot when a company is involved in fraudulent action.” [Id.]
25

26          CannaVest and PhytoSphere
27          Medical Marijuana Inc. went into damage control mode in September 2012
            when its interim CEO Michael Llamas was indicted for mortgage fraud. A
28

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 1          MJNA press release quickly announced that he was stepping “down from
 2
            his position in order to focus his attention on personal business matters that
            are entirely unrelated to MJNA.” [Id. at 12]
 3

 4          A few months later, Michael Mona Jr. left his post as Management
            Committee Chairman of Red Dice Holdings, a MJNA subsidiary, to
 5          launch a new company called CannaVest. A corporate brochure
 6          published by CannaVest states that “Mr. Mona worked as a consultant to
            Medical Marijuana Inc. until early 2013 when he was named President
 7          and CEO of CannaVest Corp.” [Id.]
 8
            From January 2013 onward, CannaVest and Medical Marijuana Inc. not
 9          only pumped each other up in their press releases, they also formed a
10          production and distribution line for CBD-infused “hemp oil” imports
            that bound the two together like the intestinal tract of conjoined twins.
11          And they regularly exchanged shares with each other, lending an
12          appearance of growth and productivity to outsiders. [Id.]

13          The corporate headquarters of CannaVest is located on Rainbow Avenue in
14          Las Vegas, Nevada, in the same Sin City suite that was also home base for
            a company called Roen Ventures. Co-founded by Mona and Llamas, Roen
15          Ventures was hit with a $17.77 million legal judgment in 2012 for
16          facilitating fraudulent land transactions in California. [Id.] 2
17
      2
18           According to CannaVest’s Form 10-K for the year ended December 31, 2013 filed
      with the SEC on March 28, 2014:
19

20          “On March 8, 2008, Far West Industries (“Far West”) sued Michael J. Mona, Jr.,
            President and Chief Executive Officer of the Company, and others for damages
21
            resulting from fraud arising out of a land transaction in California. On February
22          23, 2012, a judgment was entered in the California Action in favor of Far West
            against Mr. Mona and others in the amount of $17,777,562.18. On October 18,
23
            2012, the judgment in the California action was domesticated in Nevada and
24          enforcement proceedings commenced including, but not limited to an
            examination of Mr. Mona as a judgment debtor, and garnishments of various
25
            accounts belonging to Mr. Mona. During the period, Mr. Mona loaned $3,000,000
26          to Roen Ventures, LLC, which was subsequently loaned to the Company. The suit
            alleges that the transaction was intended to prejudice creditors like Far West by
27
            concealing and wasting assets that would otherwise be available to satisfy the
28

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 1          Before January 2013, CannaVest was known as Foreclosure Solutions,
 2
            where Mona served as President and CEO. In order for Foreclosure to
            transition into CannaVest, some of Mona’s associates in other industries
 3          began buying CannaVest shares. Mona also funneled a $3 million loan
 4          through Roen Ventures to CannaVest, a maneuver that rankled Far West
            Industries, the creditor that had won the $17.77 million settlement against
 5          Roen Ventures. Far West Industries said that loan “was intended to
 6          prejudice creditors like Far West by concealing and wasting assets that
            would otherwise be available to satisfy the [$17.7 million] judgment.” [Id.]
 7

 8          But no matter. It was a new year, and Mona and his partner Llamas, the
            disgraced majority shareholder of Medical Marijuana Inc., had positioned
 9          themselves at the top of a nascent industry where investors were clamoring
10          to get a piece of the action. Voters in Colorado and Washington had
            recently cast their ballots for legal recreational cannabis and the value of
11          any stock even tenuously connected to ganja went soaring.
12
            In a glowing press release dated March 1, 2013, Medical Marijuana Inc.
13          announced that it was selling its subsidiary PhytoSphere (which
14          processed the hemp paste from abroad) to CannaVest for $35 million in
            “CANV” shares. It sounded impressive on paper, but CannaVest scarcely
15          had an operation to justify any meaningful valuation of its shares. SEC
16          filings show that CannaVest only had a total of $431 in assets at the time
            the transaction was announced. [Id. at 12-13]
17

18          “The terms of the transaction were the result of arms-length negotiations
19

20          judgment that Far West has against Mr. Mona. Pursuant to a Second Amended
            Complaint filed by Far West Industries on February 20, 2014, the Company was
21          added as a defendant to the suit. On March 17, 2014, the Company was served
22          with the Second Amended Complaint. In summary, Far West alleges that the
            Company is in possession of funds as a result of an allegedly fraudulent transfer
23          between Michael Mona, Jr., Roen Ventures, LLC, and the Company.
24          Management plans to defend the claims to the fullest extent of the law. No
            determination has been made as the merit of the case or potential outcome.”
25
            Thereafter the Company was dismissed from the action.
26

27

28

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 1          between the parties, unaffected by any prior relationships,” explained
 2
            Michael J. Mona, III, VP of Operations for CannaVest (the CEO’s son).
            [Id.]
 3

 4          Throughout 2013, Medical Marijuana Inc. reported that it was handing off
            incremental parts of its portfolio company PhytoSphere to CannaVest for
 5          piecemeal infusions of $35 million in CannaVest shares. Each new
 6          pronouncement gave a momentary jolt to the price of Medical Marijuana
            Inc. shares, their value inflated by overblown press releases and a cannabis-
 7          crazy zeitgeist. [Id.]
 8

 9           “Medical Marijuana Inc. has never sold a single share of CannaVest, so
            it’s done no good for the company,” said Alan Brochstein, founder of 420
10          Investor, in a phone conversation with Project CBD. Brochstein is cautious
11          about labeling the MJNA-CANV collaboration a “fraud,” but he
            acknowledges that the whole thing is suspect. [Id.]
12

13          “They put an arbitrary price of $35 million, and said it was all going to
            be paid in [CannaVest] stock and not cash. But [CannaVest] was a shell
14          company that had no operation, so the whole thing looks fraudulent,” he
15          said. “How did they come to $35 million?” [Id.]

16          Brochstein isn’t the only investment analyst who has challenged the
17          financials of weed start-ups like Medical Marijuana Inc. “Most of these
            over-the-counter weed penny stocks are just vehicles for their insiders to
18          sell shares to retail investors caught up in the hype of the legalized
19          marijuana revolution,” wrote Cody Willard in the Wall Street Journal
            MarketWatch blog. [Id.]
20

21          Insiders at CannaVest and Medical Marijuana Inc. held much of each
            other’s shares, and some would later sell them to credulous traders at a
22          significant markup. [Id.]
23
            For example, Stuart Titus, the owner of Kannaway’s parent company,
24          General Hemp, and a key financier for Medical Marijuana Inc., sold
25          over $4 million worth of CANV shares in early 2014 as their value
            reached an astronomical $166.17 each. The rise and fall of CANV’s
26          price trajectory looks like the Burj Khalifa skyscraper shooting up from
27          the streets of Dubai. [Id.]
            One reason why CANV shares spiked so high is that Medical Marijuana
28

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 1          Inc. sold PhytoSphere “assets” to CannaVest for $35 million (almost
 2
            exclusively) in CANV shares, a transaction that bolstered both
            companies’ profiles at little actual cost. CannaVest also issued 900,000 of
 3          its shares to PhytoSphere as part of that deal. The whole transaction was
 4          somewhat like the episode of Beavis and Butthead in which the two
            teenagers sell all their chocolate bars to each other for the same pair of
 5          dollars. [Id. at 13-14]
 6
            The mega-valuation of CANV shares may have temporarily boosted
 7          MJNA’s valuation because of “a weird feedback loop” created by
 8          Medical Marijuana Inc., writes a representative of Rolling O Research
            on the investor website Seeking Alpha. “[Medical Marijuana Inc.]
 9          mentions . . . CannaVest in their PR. Some readers then think that
10          CannaVest sold much more product than it likely did, which increases
            the price of CANV shares. That increases the value of MJNA’s
11          CannaVest holdings on the balance sheet, providing support to a higher
12          [MJNA] stock price.” [Id. at 14]

13          MJNA stock peaked at about 50 cents, but since then its price has
14          hovered below 20 cents per share. By October 2014, CANV shares had
            dropped precipitously to $3.00, a change facilitated by a barrage of bad
15          press. An article in Forbes, “Inside the Pot Stock Bubble” (March 26,
16          2014), disclosed that CEO Mona was attempting to sell 10 million CANV
            shares for $1.50 each. These restricted shares couldn’t be traded publicly
17          for another six months. When queried about this deal, Michael Mona III
18          of CannaVest told Project CBD that this offering had been terminated on
            April 23. [Id. at 14]
19

20          On May 9, purchasers of CANV stock filed a class action lawsuit against
            CannaVest. The lawsuit followed a disclosure by CannaVest to the SEC
21          that it had “misreported” its financial position throughout 2013. [Id.]
22
                                               ***
23

24          In July 2014, a Project CBD delegation visited the laboratory facilities of
            CannaVest in San Diego, where the imported hemp paste is refined into oil.
25          We were greeted by lab director Joshua Hartsel and CannaVest executives
26          Chris Boucher and Michael Mona III. [Id. at 27]
27          Hartsel, the lead scientist at CannaVest, specializes in medicinal organic
28          chemistry. He earned a PhD at Virginia Tech and completed a postdoctoral

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 1          fellowship at the University of California. He subsequently founded Delta-
 2
            9 Technologies, an analytical testing lab that serviced California’s medical
            marijuana industry. Hartsel’s clients included CannaVest, which sent the
 3          first of several batches of its CBD-infused extract to Delta-9 Technologies
 4          for evaluation in March 2013. [Id.]

 5          A half year later, Hartsel was hired by CannaVest to establish an in-house
 6          laboratory and oversee research and development for the company. Hartsel
            got the job after being interviewed by CannaVest CEO Michael Mona Jr.
 7          and Michael Llamas, the former CEO of Medical Marijuana Inc. [Id.]
 8
            Prior to September 2013, CannaVest did not have a science department,
 9          according to Hartsel. But CannaVest, through its subsidiary PhytoSphere,
10          had been providing CBD-infused hemp oil to Medical Marijuana Inc. for
            several months before Hartsel came on board. [Id.]
11

12          The exact role of PhytoSphere in the hemp oil pipeline remains
            somewhat of an enigma. Originally a wholly owned subsidiary of
13          Medical Marijuana Inc., PhytoSphere was supposedly sold to CannaVest
14          in exchange for $35 million in CANV shares. But CannaVest insiders
            told Project CBD that Medical Marijuana Inc. never fully dissolved its
15          portion of PhytoSphere. “At one point, we had a PhytoSphere and they
16          had a PhytoSphere,” said Michael Mona. [Id.]
17          To allay confusion as to the status of Phytosphere—and perhaps also to
18          distance itself from any problems that may have arisen prior to forming an
            in-house science team—CannaVest changed the name of Phytosphere to
19          CannaVest Laboratories, LLC. [Id.]
20
                                                ***
21

22          When Project CBD visited CannaVest, we heard complaints about the
            Kannaway campaign and Michael Llamas’s mercurial, behind-the-
23          scenes management style. “We’re separate, but everyone thinks we’re
24          one,” CannaVest CEO Michael Mona Jr. insisted. “HempMeds is not
            CannaVest, and CannaVest is not HempMeds.” [Id. at 29]
25

26          But even as it tried to distance itself from Medical Marijuana Inc.,
            CannaVest was burdened by its own corporate history. In June 2014,
27          CannaVest, a MJNA offshoot, announced that it had disposed of several
28          million shares of KannaLife Sciences, a MJNA subsidiary, in exchange for

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 1          a half million shares of CANV, which had previously been issued to
 2
            Phytosphere. Shades of Beavis and Butthead again. [Id.]

 3 (Emphasis added).

 4          37.    The above events were perpetrated by Defendants, particularly Mona, Jr.
 5 and MacKay, and upon information and belief, these events also included non-parties

 6 Llamas and Titus.

 7                                         FACTS
 8          38.    According to the Company's SEC filings, CannaVest is engaged in the
 9 business of developing, producing, marketing, and selling end consumer products to the
10 nutriceutical industry containing hemp plant extract, cannabidoil (CBD) and reselling to

11 third parties raw product acquired by the Company pursuant to its supply relationships in

12 Europe. According to the Company, CannaVest seeks to take advantage of an emerging

13 worldwide trend to re-energize the production of industrial hemp and to foster its many

14 uses for consumers. CBD is derived from hemp stalk and seed. According to the

15 Company, this legal substance can be used with foods and nutritional supplements for

16 consumer health and wellness benefits as well as in the pharmaceutical industry.

17          39.    CannaVest (formerly Foreclosure Solutions, Inc.) was incorporated on
18 December 9, 2010, in the state of Texas, to provide information on pre-foreclosure and

19 foreclosed residential properties to homebuyers and real estate professionals on its

20 website. The Company was unable to secure financing for this business plan and

21 consequently experienced a change of control and a change of focus to its present

22 business.

23          40.    According to the Company’s SEC disclosures (see Form 10-K for the year
24 ended 2013): On November 16, 2012, the Buyers (Mai Dun Limited, LLC, and Mercia

25 Holdings, LLC (MacKay-owned entities), General Hemp, LLC and Bamburgh Holdings,

26 LLC) (Titus-owned entities) acquired a total of 5,000,000 shares of common stock of the

27 Company (formerly known as Foreclosure Solutions, Inc.) from H.J. Cole, the

28

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 1 Company’s former sole director and former sole officer (“Cole”). Concurrently, the

 2 Buyers acquired a total of 1,979,900 shares of common stock of the Company from

 3 other shareholders of the Company in a series of private transactions (the “Non-Affiliate

 4 Purchase Transactions”). The Buyers purchased all of the 6,979,900 shares in the Cole

 5 Purchase Transaction and the Non-Affiliate Purchase Transactions for an aggregate

 6 purchase price of $375,000. Upon consummation of the transactions described above,

 7 the Buyers collectively acquired 99.7% of the total issued and outstanding shares of

 8 common stock of the Company. The funds used for these share purchases were cash

 9 loaned to each of the Buyers from Titus pursuant to the terms of individual promissory
10 notes entered into by Titus and the sole member of each of the Buyers. Defendant

11 Mackay, a member of CannaVest’s Board, is the sole member of each of Mai Dun

12 Limited, LLC and Mercia Holdings, LLC. Titus was the sole member of General Hemp

13 LLC and was also deemed to have shared voting and investment power over the shares

14 of CannaVest common stock owned by Bamburgh Holdings LLC.

15          41.     On January 29, 2013, following the change of control, the Company
16 amended its certificate of formation to change its name to CannaVest.

17          42.     Also, on January 29, 2013, CannaVest closed the asset acquisition
18 transaction with PhytoSphere, at which time the Company took delivery of the acquired

19 assets and made its first installment payment to PhtyoSphere by issuing 900,000 shares

20 of common stock. CannaVest reported the value of the transaction at $35 million.

21          43.     On February 12, 2013, CannaVest announced its acquisition of the
22 PhytoSphere assets:

23          A.     Acquisition of Certain Assets of PhytoSphere Systems, LLC
24          On December 31, 2012, we entered into an Agreement for Purchase and
25          Sale of Assets (the “Purchase Agreement”) with PhytoSPHERE Systems,
            LLC, a Delaware limited liability company (“PhytoSPHERE”), whereby
26          the Company acquired certain assets of PhytoSPHERE in exchange for an
27          aggregate payment of $35,000,000, payable in five (5) installments of
            either cash or common stock of the Company, in the sole discretion of the
28

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 1          Company. Pursuant to the Agreement, the Company acquired from
 2
            PhytoSPHERE certain tangible assets, including equipment and inventory,
            all web domains of PhytoSPHERE, existing bank accounts with a total
 3          balance of $50,774.55, phone numbers, e-mail addresses and postal
 4          addresses, vendor lists, permits, licenses and other approvals, and all
            existing and pending contracts. Notably, pursuant to the Purchase
 5          Agreement we acquired from PhytoSPHERE all of its rights, and assumed
 6          all of its liabilities, under contracts with hemp production and processing
            facilities in three foreign countries in Europe, which allows us to secure
 7          raw product for the development and production of products. We also
 8          secured the exclusive license to the name “PhytoSPHERE” and
            “PhytoSPHERE Systems” for use in the development and
 9          commercialization of hemp-based products.
10
            The Purchase Agreement requires payment as follows: (a) $4,500,000 on
11          or before January 31, 2013; (b) $6,000,000 on or before March 30, 2013;
12          (c) $8,000,000 on or before June 30, 2013; (d) $10,000,000 on or before
            September 30, 2013; and $6,500,000 on or before December 31, 2013. For
13          any installments paid by the issuance of stock, the number of shares of
14          stock issuable by the Company is determined by reference [to] the closing
            price of our common stock on the day prior to issuance. The price is
15          subject to a “collar”, whereby in no event will the shares issuable pursuant
16          to the Purchase Agreement be priced at more than $6.00 per share, and in
            no event will the shares be priced at less than $4.50 per share.
17

18          PhytoSPHERE is a Delaware limited liability company owned by Medical
            Marijuana, Inc. (MJNA.PK), an Oregon corporation, and Hemp Deposit
19          and Distribution Corporation, a Delaware corporation. Our Chief Executive
20          Officer and sole member of our Board of Directors, Michael Mona, Jr.,
            owns and/or controls approximately 37,337,000 shares of common stock of
21          Medical Marijuana, Inc., which represents approximately 4% of the issued
22          and outstanding shares of the capital stock of Medical Marijuana, Inc. as of
            February 11, 2013. Mr. Mona does not hold any management position with
23          Medical Marijuana, Inc. or serve on its board of directors, nor has he held
24          any such position previously. Mr. Mona neither owns shares in, nor serves
            Hemp Deposit and Distribution Corporation in any capacity, nor has he
25          done so previously.
26
            44.     Just a few months earlier, Medical Marijuana, Inc. had acquired
27
      PhytoSphere for only a fraction of the price paid to Medical Marijuana, Inc. by
28

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 1 CannaVest. In particular, an April 16, 2012 news article published by Altassets reported

 2 that CannaBank sold an 80% interest in PhytoSphere to MJNA for $2.5 million. See

 3 http://www.altassets.net/private-equity-news/by-news-type/deal-news/cannabank-sell-

 4 phytosphere-systems-to-medical-marijuana.html. This information was also reported in

 5 an article, “CannaBank Takes Hit Of $2.5M Sale,” published in the Wall Street Journal

 6 on April 13, 2012. In short, MJNA acquired an interest in PhytoSphere in April 2012 for

 7 $2.5 million, and eight months later agreed to sell this interest to CannaVest (which

 8 came into existence November 16, 2012) for purportedly $35 million.

 9          45.    Throughout the Relevant Period, MJNA and its various subsidiaries
10 issued a multitude of press releases touting their success and referencing their

11 relationship with CannaVest. Specifically, MJNA touted the plans and accomplishments

12 of CannaVest and PhytoSphere—an entity that both CannaVest and Medical Marijuana,

13 Inc. at one time or another claimed as their own entity.

14          46.    On March 14, 2013, CannaVest increased the size of its Board of
15 Directors from one (1) person (Mona) to four (4) persons, and appointed Defendant

16 Mackay, and non-parties Sobieski and Wilson to fill the newly created seats and serve as

17 directors of the Company, effective March 15, 2013.

18          47.    Then, on April 4, 2013, Medical Marijuana, Inc. issued a press release
19 discussing the PhytoSphere transaction and prospects for PhytoSphere:

20          MEDICAL MARIJUANA INC ("MJNA") - Significant Revenue and Net
21          Income Growth
22          PhytoSphere Systems LLC - is the world/s leading cannabinoid based bio-
23          technology Company. The company recently entered into an agreement
            with CannaVest Corp (OTC:CANV) for the rights to use its brand name
24          PhytoSphere Systems, along with the outsourcing to CannaVest its hemp
25          facility cultivation, management and processing. The company is still
            owned eighty (80%) percent by Medical Marijuana Inc., and as part of the
26          transaction MJNA became a significant shareholder in CANV.
27

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 1          PhytoSphere Systems will still play a significant role in the company's
 2
            overall game plan, with the licensing and outsourcing to CannaVest, the
            company is able to save nearly ten (10M) million dollars of additional
 3          infrastructure and development costs in the first two quarts of this year
 4          alone. In addition to saving a significant amount of capital, the company
            was able to streamline its corporate operations by not having its focus
 5          diverted by a multi-country multi-continent highly management intensive
 6          business, while still allowing MJNA and its subsidiaries a constant supply
            of these high quality ingredients, just above manufacturing and
 7          infrastructure costs and well below wholesale and retail pricing.
 8
            As the demand for CBD-based products continues to grow, PhytoSphere is
 9          constantly expending their operational capacity to meet this demand.
10          Internally, the company is expected to deliver several hundred kilograms of
            raw Hemp CBD oil this quarter to Medical Marijuana Inc. and the family
11          of companies.
12
            PhytoSphere will offer its raw materials to the open market starting May
13          1st 2013. With this raw materials sales launch, the company will launch its
14          updated corporate information and sales sites, where customers can
            purchase a variety of products with several financing options for large scale
15          wholesale accounts.
16
            48.     As reported by CannaVest in its SEC filings, as of April 12, 2013,
17
      CannaVest had five employees; as of March 28, 2014, CannaVest had eight full-time
18
      employees and no part-time employees.
19
            49.     According to CannaVest’s SEC filings, the Company purchased the assets
20
      of PhytoSphere as the basis for implementing the Company’s new business model,
21
      which was and is to manufacture, market and sell products containing hemp oil.
22
      According to announcements made by the Company at least as early as February 13,
23
      2013, CannaVest anticipated launching its first product to large commercial buyers as
24
      early as March 2013, and having products on the market available to consumers shortly
25
      thereafter; and, CannaVest’s “line of products [was] expected to grow throughout the
26
      year – by year end 2013 we anticipate a full line of CBD and hemp-related consumer
27
      products.”
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 1          50.     In sum, MJNA acquired an interest in PhytoSphere during April 2012 for
 2 $2.5 million, and eight months later agreed to sell this interest to CannaVest (which

 3 came into existence November 16, 2012) for $35 million.

 4          51.     According to an April 14, 2014 Forbes article, Mona referred to this as a
 5 “shell game.” The article further noted:

 6                 Shell game. Three-card monte. Or just a flurry of deal
 7                 making between related companies that happen to be publicly
                   traded. Whatever you call it, CannaVest’s shares were poised
 8                 to take off–and the architects stood ready for a great windfall.
 9
            52.     CannaVest at that time was a small company with little to no money or
10
      business operations and was run by Mona (an MJNA insider). It had the option of
11
      paying for all or portions of the $35 million in CannaVest stock, thus was a virtual
12
      certainty that CannaVest would pay MJNA with CannaVest stock. Also, because
13
      CannaVest had only 7,900,000 common shares outstanding, the initial $4.5 million
14
      payment in CannaVest shares with an assigned value of $5.00 per share represented a
15
      return of 11.4% of CannaVest’s outstanding shares to MJNA. If MJNA were to be paid
16
      the entire $35 million with stock at a share value of $5 per share, it would have
17
      7,000,000 shares which would represent an 88.6% ownership interest in the company
18
      thus making CannaVest an MJNA subsidiary. And in fact, MJNA would have a
19
      controlling stock ownership interest in CannaVest long before CannaVest made its last
20
      payment.
21
            53.     In substance, MJNA (Llamas’ alter ego) orchestrated the appearance of a
22
      newly created publicly held company with $35 million of assets when in fact this
23
      number was grossly inflated, and when the new publicly held company was pre-arranged
24
      to be owned and controlled by MJNA (Llamas). The recordation of the vastly overstated
25
      asset infusion also immediately increased the perceived worth of CannaVest’s common
26
      stock to the investment community, thereby grossly inflating CannaVest’s trading price.
27
      ///
28

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 1          54.     On April 30, 2013, Medical Marijuana, Inc. issued another press release
 2 commenting on the PhytoSphere transaction:

 3          To The Shareholders of Medical Marijuana Inc.:
 4          From: Michelle Sides, Chairman, Chief Operating Officer and
 5          Shareholder
 6          -- FINANCIALS AND PHYTOSPHERE SYSTEMS TRANSACTION
 7          There have been some questions with regards to the CannaVEST
 8          transaction with Phytosphere Systems. The current status of this transaction
            is as follows: MJNA currently owns and has owned 80% of Phytosphere
 9          Systems, which is a global phytocannabinoid biotechnology company
10          specializing in the production of hemp based compounds, oils and extracts.
            These include Cannabidiol (CBD), Cannabidiol-Acid (CBD-A),
11          Cannabigerol (CBG) and Cannabigerol-Acid (CBG-A) as well as other
12          beneficial cannabinoinds, terpenoids and flavinoids. The Phytosphere
            Systems is also developing a pipeline of Terpenoids and flavinoids. As part
13          of the company's refocusing of management, time and capital, we decided
14          to streamline our business focus.

15          Prior to Phytosphere, these pipelines of products did not exist in any
16          large quantity or steady supply. Since then, we have been able to sign an
            exclusive license with CannaVest Corp, which would allow MJNA the
17          benefit of its steady pipeline, while no longer having to deal with the day
18          to day operating challenges. The company operates in five countries and
            three continents. Along with the licensing agreement, the Company agreed
19          to sell its excess inventory as well as the contracts, subcontractors and
20          production capabilities to CannaVest as part of the transaction. This again
            allows the Company to no longer have to deal with the day to day
21          operations, legal, export, import, licensing, continued development,
22          considerable financial investments, staffing and costs associated with the
            logistics of the business while still owning 80% of Phytosphere. CannaVest
23          provides the raw ingredients to the Company for the same price MJNA
24          received prior to the execution of the license agreement. Once
            Phytospheres’ production increases and creates a decrease in the cost of
25          production, a drastic price reduction will be made available to MJNA and
26          its subsidiaries.
27          This obviously will lead to significantly increased profitability for MJNA
28          and its shareholders. The payment structure is as follows:

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 1          CannaVest is paying MJNA $35 million through the end of 2013. The
 2
            payments can be made in stock or cash, or a combination of both (please
            look at legal disclosure for exact terms). If CannaVest pays in stock,
 3          MJNA becomes the majority shareholder in CannaVest and gets to realize
 4          a cost savings in production, while also the increase in value it may get
            from the continued growth of the brand. If CannaVest pays in cash, MJNA
 5          realizes a substantial increase in its cash position. To date MJNA received
 6          in the 4th quarter a $4.5m dollar payment in CannaVest stock payment
            towards its licensing obligation, and as disclosed in subsequent filings, the
 7          Company has also received $4.5m and a $1.5m payment in stock from
 8          CannaVest, for a total stock payment of $10.5m towards licensing and
            partial inventory. The first payment of $4.5mil was 100% credited as
 9          licensing, the second and third installments are credited as an inventory
10          purchase. The details of the transaction will be addressed in our first
            quarter filings, on or before May 15, 2013. The balance of the $24.5m
11          payments ¼ consideration will be broken up between inventory purchases
12          first, then against the production contracts and the agricultural production
            team that was acquired by CannaVest as part of the transaction.
13

14          55.     On May 14, 2013—one week before the Company filed with the SEC its

15 financial statements for the first quarter 2013—CannaVest announced in a Form 8-K

16 filed with the SEC that it had terminated its independent auditor Turner Stone &

17 Company, LLP (“Turner Stone”) and had replaced it with Anton Chia, LLP. Submitted

18 in connection with the May 14, 2013 Form 8-K filing was a letter from Turner & Stone

19 to Defendant Mona, Jr. and the Company. The letter identified a significant material

20 weakness in CannaVest’s control over financial reporting:

21          In connection with our recent audit of the financial statements of
            CannaVEST Corp. (the Company) as of December 31, 2012 and for the
22          year then ended, in accordance with auditing standards promulgated by the
23          Public Company Accounting Oversight Board (United States) (PCAOB),
            we considered the Company’s internal control over financial reporting
24          (“internal control”) as a basis for designing our auditing procedures for the
25          purpose of expressing our opinion on the financial statements, but not for
            the purpose of expressing an opinion on the effectiveness of the
26          Company’s internal control.
27

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 1          Our consideration of internal control was for the limited purpose described
 2
            in the preceding paragraph and would not necessarily identify all
            deficiencies in internal control that might be significant deficiencies or
 3          material weaknesses and therefore, there can be no assurance that all
 4          deficiencies, significant deficiencies, or material weaknesses have been
            identified. However, as discussed below, we identified a deficiency in the
 5          Company’s internal control that we consider to be a significant
 6          deficiency and material weakness.

 7          A deficiency in internal control exists when the design or operation of a
 8          control does not allow management or employees, in the normal course of
            performing their assigned functions, to prevent, or detect and correct
 9          misstatements on a timely basis. A significant deficiency is a deficiency, or
10          a combination of deficiencies, in internal control that is less severe than a
            material weakness, yet important enough to merit attention by those
11          charged with governance. A material weakness is a deficiency, or a
12          combination of deficiencies, in internal control, such that there is a
            reasonable possibility that a material misstatement of the entity's
13          financial statements will not be prevented, or detected and corrected on a
14          timely basis.

15          The Company’s accounting management, both former and current,
16          consists of one person holding the offices of Chief Executive Officer and
            Chief Financial Officer. The general ledger accounting and financial
17          statement preparation functions have been outsourced to independent
18          accounting and/or consulting firms due to the lack of technical
            accounting qualifications and SEC reporting and disclosure experience
19          by accounting management. In addition, after the change of control and
20          accounting management, the independent accounting firm to which the
            accounting and financial statement preparation functions were
21          contracted also did not have the technical accounting qualifications or
22          experience with SEC reporting and disclosure matters. As a result, the
            financial statements initially submitted to our firm to audit were missing a
23          significant transaction and many disclosures required by generally accepted
24          accounting principles. Accordingly, additional time was spent by your
            independent accounting firm preparing your financial statements and by
25          our firm in reviewing them. We recommend that accounting management
26          discuss this matter with your independent accounting firm to determine if
            they are able to provide services that will allow you to remediate this
27          material weakness and if not to consider engaging alternative resources,
28          internally or externally, so that you will be able to remediate this material

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 1          weakness. In making this recommendation we are aware of the cost
 2
            benefits of any system of internal control and that any decision you make
            should be done within this context.
 3

 4                                            ***
            Our consideration of internal control would not necessarily disclose all
 5          matters in internal control that might be deficiencies, significant
 6          deficiencies, or material weaknesses.

 7 (Emphasis added).

 8          56.     On June 18, 2013, Medical Marijuana, Inc. issued the following press
 9 release:
10          Medical Marijuana Inc.'s PhytoSPHERE Systems Reports it Has Radically
11          Increased Hemp Production in Expectation of World Wide Demand for
            2013 & 2014
12

13          Major New Worldwide Production to Add to Cannabinoid Reserves for
            Product Expansion of CBD, CBG and Host of Hemp Derived Terpenes;
14          PhytoSPHERE Systems Announces Creation of US Hemp Oil Corp -Its Pet
15          Product Line- Cibdex and Skin Care Line -Cibaderm- to be Introduced
            Later in the Year
16

17          June 18, 2013
18          SAN DIEGO, June 18, 2013 (GLOBE NEWSWIRE) -- Medical Marijuana
19          Inc.
20           (OTC:MJNA) and PhytoSPHERE Systems are pleased to inform
21          shareholders and the general public that the company has expanded hemp
            production significantly. With the expansion, the company has increased
22          production of the industry's first natural pharmaceutical-grade CBD-rich
23          oils and derivatives. The increased capacity to 6,000 tons of raw base
            material from 2,000 tons will make PhytoSPHERE Systems one of the
24          largest hemp production companies in the world.
25
            PhytoSPHERE Systems has recently created US Hemp Oil Corp, which is
26          currently developing the Pet industries first CBD-based Pet Care product
27          line- "Cibdex" as well as an exclusive CBD-cannabinoid Skin Care Line
            aptly named "Cibaderm".
28

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 1          Increase of Hemp Production to an estimated 6,000 Tons for 2013 Harvest
 2
            PhytoSPHERE Systems has informed shareholders that the company has
 3          added 4,000 tons of raw hemp to the present production capabilities of
 4          2,000 tons. The increase in hemp based raw materials increases the
            company's production capabilities of CBD-rich oils as well as allows the
 5          company to increase its production of other cannabinoid rich hemp oils
 6          such as Cannabigerol (CBG). Furthermore, this production increase is
            expected to add the equivalent of 450 tons of Cannabinoid-rich hemp oil
 7          to overall reserves- an increase of 300 tons. With the recent licensing
 8          agreement with CannaVest Corp the opportunity was created for this
            increased production which in turn lowered the overall cost of the raw
 9          ingredients significantly. These costs savings will eventually lead to lower
10          sales prices for finished goods for consumers.

11          PhytoSPHERE to Invest in Hemp Harvesting and Product Equipment
12
            PhytoSPHERE Systems, in order to keep up with expanding worldwide
13          hemp production, has announced the company will invest in a series of new
14          hemp harvesting and production equipment. This will allow for the added
            in-ground production to be processed and handled in an efficient manner
15          while keeping the integrity of the supply chain intact and increasing the
16          quality of the production.
17          PhytoSPHERE to Expand Product Capabilities into Pharmaceutical Market
18          PhytoSPHERE Systems has additionally announced that it will expand
19          production of cannabidiolic acid (CBD-A) and various terpenes/terpenoids
            in line with increased demand from pharmaceutical companies and
20          research bodies. PhytoSPHERE will also start to produce significant
21          quantities of a second cannabinoid - cannabigerol (CBG). These
            simultaneous developments will enable the company to explore additional
22          combinations of products within new and expanding product lines.
23          Research has shown that combining various cannabinoids and terpenoids
            have increased the overall effects of a single component cannabinoid
24          product. This effect has been coined the "Entourage Effect". The company
25          is positioning itself to supply large quantities of naturally derived
            cannabinoids, terpenes\terpenoids to the pharmaceutical industry as an
26          additive\enhancing ingredient to their current product portfolio's whereby
27          making the products have the "Entourage Effect" or be more effective
            against the companies target demographic.
28

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 1 (Emphasis added).

 2
            57.     On July 31, 2013, Medical Marijuana, Inc. issued the following press
 3
      release:
 4
            SAN DIEGO, CA, July 31, 2013 - (eTeligis via ACCESSWIRE)- Medical
 5          Marijuana Inc. (OTC Pink: MJNA) is pleased to announce that their
 6          subsidiary company, Canipa Holdings (www.canipaholdings.com/), has
            signed an exclusive worldwide distribution and marketing agreement with
 7          a prominent European-based pharmaceutical/nutraceutical/cosmetics
 8          company. Canipa Holdings will manage the marketing and distribution of
            the European company's portfolio of over twenty hemp-based consumer
 9          products. The products will be added to the HempMeds PX platform.
10
            "Some of the products Canipa Holdings will be marketing and selling are
11          approved for specific medical claims in parts of the European market," says
12          Charles Vest, Director of Communications for HempMeds PX, the
            marketing company for Medical Marijuana Inc. and all MJNA subsidiary
13          companies. "We want to make clear, however, that these products will be
14          marketed as consumer-only in the United States and its territories."

15          In the largest transaction that the company has signed to date, Canipa
16          Holdings has also acquired the exclusive online marketing and sales rights
            for this new portfolio of hemp-based products (excluding The Middle East,
17          Poland, Czech Republic, Hungary, Slovakia, and Latvia). Finally, Canipa
18          Holdings will be the exclusive retail store/brick-and-mortar distributor for
            these new hemp-based products in all United States and territories as well
19          as Canada and Mexico. The company will seek to negotiate additional
20          territories as markets become viable.
21          "Nothing like these products exist today," continues Vest. "The European
22          Union (EU), through the European Medicines Agency, is already well
            aware of the potential health and wellness applications for hemp-based
23          products, evidenced by the fact that this new product portfolio that Canipa
24          has acquired is marketed for specific ailments in parts of the EU."
25

26          About HempMeds PX
27
            HempMeds PX is the master distributor and contracted marketing
28          company for the CannaVest Corp. and Medical Marijuana, Inc. (OTC

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 1          Pink: MJNA) portfolio of products, including their revolutionary hemp-
 2
            based CBD products. HempMeds PX offers mainstream marketing, sales,
            customer service, and logistics for the cannabis industry. In addition to
 3          handling sales and distribution, HempMeds PX is the communication hub
 4          for the Medical Marijuana Inc. portfolio of companies.

 5 (Emphasis added).

 6
            58.     On August 13, 2013, Medical Marijuana, Inc. issued the following press
 7
      release:
 8
            SAN DIEGO, Aug. 13, 2013 (GLOBE NEWSWIRE) -- Medical
 9          Marijuana, Inc. (OTC:MJNA), a leading cannabis and hemp industry
10          innovator, today announced the release of its quarterly financial and
            shareholders report (Post 8/13/2013 - OTC Markets). The company earned
11          a net income of approximately $6.0 million on gross income of
12          approximately $8.8 million for the quarter ending June 30, 2013. The
            company launched its highly anticipated marketing and sales arm,
13          HempMeds PX; selected officers for CanChew Biotechnologies; and
14          acquired several additional brands and over 20 products through Canipa
            Holdings. To better manage the company's growth, Medical Marijuana Inc.
15          relocated to a larger facility in July to accommodate the new HempMeds
16          PX team and to expand its warehouse and distribution capabilities. Below
            are the company's second quarter 2013 operating and developmental
17          highlights.
18                                                ***
19          In addition to working with MJNA and CannaVest, HempMeds PX
            anticipates offering mainstream marketing, sales, customer service, and
20          logistics for the cannabis industry in the future. Launched the Marketing
21          and Sales for CBD-Rich Hemp Oil (Hemp based Cannabidiol) Real
            Scientific Hemp Oil (RSHO)
22

23          59.     On September 27, 2013, Medical Marijuana, Inc. issued the following
24 press release:

25          SAN DIEGO, Sept. 27, 2013 (GLOBE NEWSWIRE) -- Medical
            Marijuana Inc. (OTC Pink: MJNA) is pleased to inform shareholders
26          and the general public that HempMeds PX - a corporate portfolio
27          company of Medical Marijuana Inc. and the exclusive master distributor
            and contracted marketing company for CannaVest Corp. and Medical
28

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 1          Marijuana Inc. - entered the "High CBD (cannabidiol) Award"- winning
 2
            product at the High Times Medical Cannabis Cup in Seattle,
            Washington. Submitted by HempMeds PX on behalf of PhytoSPHERE
 3          Systems, the prototype product CBD Simple tested at a record 95.8% CBD,
 4          the highest CBD percentage ever documented at the Cannabis Cup.

 5                                             ***
 6          "The enthusiasm for high-CBD products at the Cup represents a huge shift
 7          in cannabis culture," said Chris Boucher, Vice President of Product
            Development for HempMeds PX. "This was the first time the company
 8          entered any products into a competition of this kind, and we are thrilled
 9          with the result. The support for what we are doing from the cannabis
            community was overwhelming."
10

11          Michael Mona Jr., President and CEO of CannaVest Corp., accepted the
            award in Seattle on behalf of PhytoSPHERE Systems and HempMeds PX.
12          "We are very thankful for the hard work of our friends at HempMeds PX,
13          and for the incredible PhytoSPHERE team that produced this game-
            changing product. We are excited to work together to bring standardized,
14          hemp-based high CBD products to the market," said Mona Jr.
15
      (Emphasis added).
16
            60.        On November 21, 2013, Medical Marijuana, Inc. issued the following
17
      press release:
18
            SAN DIEGO, Nov. 21, 2013 (GLOBE NEWSWIRE) -- Medical
19          Marijuana, Inc. (OTC:MJNA), a leading cannabis and industrial hemp
20          industry innovator, today announced the release of its quarterly financial
            and shareholders report (Post 11/15/2013 - OTC Markets). The Company
21          earned a net income of approximately $7.9 million on gross income of
22          approximately $10.4 million, derived from sales and the quarterly
            PhytoSPHERE payment, for the quarter ending September 30, 2013.
23          HempMeds PX - a corporate portfolio company of Medical Marijuana Inc.
24          and the exclusive master distributor and contracted marketing company for
            CannaVest Corp. and Medical Marijuana Inc. - acquired the marketing
25          contracts for the highly anticipated Cibdex, Cibaderm, and HempVĀP
26          product lines, adding additional revenue potential for MJNA. In addition,
            the Company retained Cheryl Shuman as a spokesperson; exhibited at trade
27          shows nationwide; initiated philanthropic efforts directed towards seizure-
28          related disorder research; and submitted/represented two award-winning

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 1          hemp-based cannabidiol (CBD) products, including the 2013 High Times
 2
            Medical Cannabis Cup "high CBD" concentrate winner. Below are the
            Company's third quarter 2013 operating and developmental highlights.
 3          Operating highlights for the third quarter are as follows:
 4

 5                                              ***

 6          HempMeds PX

 7                                              ***

 8          Regarding the CannaVest "offering": The money being raised from the sale
            of the restricted common stock will enable CannaVest to increase harvests
 9          and production, which will lower overall cost of hemp CBD. This in turn
10          will enable MJNA and our subsidiaries to have higher margins and to
            lower the overall cost to the consumer, thereby increasing availability and
11          affordability of hemp CBD. The Company supports this action and
12          anticipates stable, long-term growth from this offering. As of this writing,
            CannaVest (OTC:CANV) stock remains at $25.50/share.
13

14 (Emphasis added).

15          61.     And on February 5, 2014, Medical Marijuana, Inc. issued the following

16 press release:

17          Medical Marijuana Inc.'s HempMeds PX Expands Sales Efforts Based on
            PhytoSPHERE Systems 1,500% Increase in Industrial Hemp Cannabidiol
18          (CBD) Oil Production
19
            Production Capabilities of Award-Winning CBD-Rich Hemp Oil Scales
20          Up to Address Growing Global Demand
21
            February 5, 2014
22

23          SAN DIEGO, Feb. 5, 2014 (GLOBE NEWSWIRE) -- Medical Marijuana
            Inc. (OTC Pink:MJNA) would like to inform shareholders and the general
24          public that HempMeds PX™ - a corporate portfolio company of Medical
25          Marijuana Inc. and the exclusive master distributor and contracted
            marketing company for CannaVest Corp. and Medical Marijuana Inc. - is
26          actively expanding global sales based on CannaVest Corp. (OTC:CANV)'s
27          subsidiary, PhytoSPHERE Systems' 1,500% increase in production
            capability for industrial hemp-based cannabidiol (CBD) oil.
28

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 1          PhytoSPHERE's San Diego laboratory houses specialized equipment for
 2
            high pressure processing of the world's most abundant source of industrial
            hemp-based CBD oil.
 3

 4 (Emphasis added).

 5          62.     The effect of these releases and the other wrongful conduct alleged herein

 6 was that the market and investors were misled about the value of CannaVest’s common

 7 stock and about its corporate affairs.

 8          63.     During the majority of the Relevant Period, the small number of

 9 employees at the Company—five to eight—(and particularly the lack of employees
10 qualified to handle public company financial reporting matters) and the complete

11 absence of internal control over financial reporting (particularly the fact that Defendant

12 Mona, Jr. served both as the Company’s CEO/President and CFO) permitted Defendant

13 Mona, Jr. and the other Defendants to manipulate the Company’s accounting to suggest

14 that the PhytoSphere acquisition was much more valuable than it actually was and the

15 Company’s financial position and results of operations were better than they actually

16 were.

17                      FALSE AND MISLEADING STATEMENTS
18          1.     CannaVest’s Relevant Period Financial Statements were Not
                   Presented in Accordance with GAAP and were Materially False and
19                 Misleading
20
            64.    Generally accepted accounting principles (“GAAP”) are those principles
21
      recognized by the accounting profession as the conventions, rules, and procedures
22
      necessary to define accepted accounting practice at a particular time. Those principles
23
      are the official standards adopted by the American Institute of Certified Public
24
      Accountants (“AICPA”), a private professional association, through three successor
25
      groups it established: the Committee on Accounting Procedure, the Accounting
26
      Principles Board, and the Financial Accounting Standards Board (“FASB”).
27

28

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 1          65.   On July 1, 2009, FASB approved the Accounting Standards Codification
 2 (“ASC” or the “Codification”) as the single source of authoritative U.S. accounting and

 3 reporting standards, other than guidance issued by the SEC. The Codification is effective

 4 for interim and annual periods ending after September 15, 2009. All existing accounting

 5 standards documents are superseded as described in FASB Statement No. 168, The

 6 FASB Accounting Standards Codification and the Hierarchy of Generally Accepted

 7 Accounting Principles. All other accounting literature – other than SEC accounting

 8 literature and guidance – not included in the Codification is non-authoritative.

 9          66.   The Codification reorganizes the thousands of U.S. GAAP pronouncements
10 into roughly 90 accounting topics and displays all topics using a consistent structure. It

11 also includes relevant SEC guidance that follows the same topical structure in separate

12 sections in the Codification.

13          67.   The Codification does not change GAAP, it introduces a new structure –
14 one that is organized in an easily accessible, user-friendly online research system.

15          68.   Compliance with GAAP is a basic fundamental obligation of publicly
16 traded companies. As set forth in SEC Rule 4-01(a) of SEC Regulation S-X, “[f]inancial

17 statements filed with the [SEC] which are not prepared in accordance with [GAAP] will

18 be presumed to be misleading or inaccurate.” 17 C.F.R. § 210.4-01(a)(1).

19          2.    2013 First Quarter 10-Q and Press Release
20          69.   On May 20, 2013, CannaVest filed with the SEC its Form 10-Q for the first
21 quarter ended March 31, 2013 (“2013 First Quarter 10-Q”). This Form 10-Q and the

22 accompanying Sarbanes-Oxley Certification were signed by Defendant Mona, Jr.

23          70.   The Company’s accounting recognition for the PhytoSphere transaction
24 was first reported in the financial statements included in CannaVest’s 2013 First Quarter

25 10-Q. In these financial statements CannaVest reported intangible assets of $33,656,833

26 and a current liability in the amount of $30,500,000 for the remaining balance owed

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 1 MJNA from the “PhytoSphere Agreement.” The Company also reported revenues of

 2 $1,275,000 and costs of goods sold in the amount of $501,500.

 3          71.   With respect to related party transactions, CannaVest disclosed in the 2013
 4 First Quarter 10-Q:

 5          RELATED PARTY TRANSACTIONS
 6          Stockholders
 7          On March 1, 2013, the Company issued a Promissory Note (the “Note”) to
 8          Roen Ventures, LLC, a Nevada limited liability company (“Roen
            Ventures”), in exchange for loans provided and to be provided in the future
 9          in an amount of up to $2,000,000. As of March 31, 2013, the balance on
10          the Note was $430,500. The Note is an unsecured obligation of the
            Company accruing interest at 5% that is due and payable in two (2) years,
11          on March 1, 2015. The Company’s President and member of the Board of
12          Directors, Michael Mona, Jr., holds a 50% interest in Roen Ventures.

13          72.   The Company made the same disclosures in an amended quarterly report
14 for the first quarter ended March 31, 2013 filed with the SEC on Form 10-Q/A on May

15 30, 2013.

16          73.   On June 20, 2013, the Company issued a press release entitled, “CannaVest
17 Corp. Announces First Quarter 2013 Earnings and PhytoSphere Systems Increase in

18 Hemp Production and Expansion of Additional Product Lines.” The press release

19 provided in part:

20          SAN DIEGO, June 20, Jun 20, 2013 (GLOBE NEWSWIRE via
21          COMTEX) -- CannaVest Corp. (OTC:CANV) is pleased to inform
            shareholders and the general public of the release of First Quarter 2013
22          earnings. CannaVest Corp. has reported revenues of $1.275 million and
23          gross profit of $773,500 during the first full quarter of company operations,
            with net income of $337,941, $0.04 per share. The company's full quarterly
24          report and financial statements can be found in the Form 10-Q/A filed by
25          the company with the Securities and Exchange Commission (SEC) on May
            30, 2013 (www.sec.gov).
26

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 1            First Quarter 2013 Results
 2
              The company's financial performance over the first quarter of 2013 was
 3            driven by the sale of raw hemp product to third parties. During the first
 4            quarter of 2013 the company sold and shipped to third parties 51 kilograms
              of finished CBD products.
 5

 6            "After the commencement of our business and acquisition of production
              and supply agreements from Phytosphere Systems in January 2013, we
 7            are pleased to report that we are buying and selling to third parties
 8            substantial inventories of raw hemp product, which generated our net
              income of $337,941 in the first quarter of 2013," Michael Mona, Jr.,
 9            Chief Executive Officer of CannaVest Corp. said. "We plan to substantially
10            increase our production capabilities through our existing supply chain
              partners, and add new partners, with the goal of being the industry leader in
11            the production of natural pharmaceutical-grade CBD-rich oils, and one of
12            the largest hemp production companies in the world."

13 (Emphasis added).

14
              74.   Defendants’ statements above were materially false and misleading in that
15
      they misrepresented CannaVest’s financial position and results of operations and that the
16
      Company’s financial statements complied with GAAP when they did not. Among other
17
      things, Defendants overstated intangible assets and omitted a material related party
18
      transaction (that 100% of the Company’s revenues for the quarter were derived from
19
      sales to related party Medical Marijuana, Inc.).
20
              3.    2013 Second Quarter 10-Q
21
              75.   On August 13, 2013, CannaVest filed with the SEC its Form 10-Q for the
22
      second quarter ended June 30, 2013 (“2013 Second Quarter 10-Q”). This Form 10-Q and
23
      the accompanying Sarbanes-Oxley Certification were signed by Defendant Mona, Jr.
24
              76.   In its financial statements included in the 2013 Second Quarter 10-Q
25
      CannaVest reported $26,998,125 in goodwill and $4,995,895 in intangible assets.
26
              77.    CannaVest made no related party disclosures in the 2013 Second Quarter
27
      10-Q.
28

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 1          78.   Defendants’ statements above were materially false and misleading in that
 2 misrepresented CannaVest’s financial position and results of operations and that the

 3 Company’s financial statements complied with GAAP when they did not. Among other

 4 things, defendants overstated goodwill and intangible assets and failed to disclose a

 5 material related party transaction (that 100% of the Company’s revenues for the quarter

 6 were derived from sales to related party Medical Marijuana, Inc.).

 7          4.    2013 Third Quarter 10-Q
 8          79.   On November 14, 2013, CannaVest filed with the SEC its Form 10-Q for
 9 the third quarter ended September 30, 2013 (“2013 Third Quarter 10-Q”). This Form 10-
10 Q and the accompanying Sarbanes-Oxley Certification were signed by Defendant Mona

11 Jr.

12          80.   In its financial statements included in the 2013 Third Quarter 10-Q the
13 Company reported $4,466,666 in intangible assets and an impairment of goodwill in the

14 amount of $26,998,125.

15          81.   CannaVest made no related party disclosures in its 2013 Third Quarter 10-
16 Q.

17          82.   Defendants’ statements above were materially false and misleading in that
18 misrepresented CannaVest’s financial position and results of operations and that the

19 Company’s financial statements complied with GAAP when they did not. Among other

20 things, Defendants overstated goodwill and intangible assets and omitted a material

21 related party transaction (that 100% of the Company’s revenues for the quarter were

22 derived from sales to related party Medical Marijuana, Inc.).

23          5.    CannaVest Overstated its Goodwill and Intangible Assets
24          83.   CannaVest’s accounting recognition for the PhytoSphere transaction was
25 first reported in the Company’s first quarter 2013 financial statements. Specifically,

26 CannaVest reported intangible assets of $33,656,833 and no goodwill. The Company

27 also reported revenues of $1,275,000 and costs of goods sold in the amount of $501,500.

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 1          84.   In its second quarter 2013 financial statements, CannaVest reported
 2 $26,998,125 in goodwill and $4,995,895 in intangible assets.

 3          85.   In its third quarter 2013 financial statements, CannaVest reported
 4 $4,466,666 in intangible assets and an impairment of goodwill in the amount of

 5 $26,998,125.

 6          86.   On April 3, 2014, CannaVest acknowledged for the first time that it had
 7 misreported its financial position and its results of operations on the Company’s Forms

 8 10-Q for the quarters ended March 31, 2013, June 30, 2013, and September 30, 2013,

 9 and as such, CannaVest’s 2013 first, second, and third quarter financial statements
10 included in the Forms 10-Q could no longer be relied upon and would need to be

11 restated. More specifically, the press release stated, in part:

12          The Company has determined that it is necessary to correct such errors
13          because the allocation methodology used by management, the resulting
            carrying amount of intangible assets and goodwill, and the resulting
14          amortization cost and goodwill impairment were not in accordance with
15          GAAP.

16          87.   Thus, CannaVest admitted that its financial statements for the first, second
17 and third quarters of 2013 were materially false and misleading. See 17 C.F.R. § 210.4-

18 01(a)(1).

19          88.   Subsequently, CannaVest disclosed:
20          Specifically, management determined that the purchase price and the allocation
21          of the purchase price [of PhytoSphere] as previously disclosed in the Forms 10-
            Q were not in accordance with accounting principals generally accepted in the
22          United States (“GAAP”). The Company initially reported the acquisition of the
23          Assets (the “Transaction”) based on the negotiated purchase price of $35 million
            which had a floor and ceiling locked on the value of the Company’s common
24          stock to be issued of between $4.50 and $6.00, as reflected in the Agreement for
25          Purchase and Sale of Assets entered into by the Company and PhytoSPHERE. In
            reviewing the price that the Company’s common stock was trading at during the
26          year, management determined that although the negotiated price of the
27          Transaction was $35 million, that price may not represent the fair market value
            of the Assets acquired. As a result, management determined that obtaining a
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 1          valuation of the Assets would be required in order to determine the fair value of
 2
            the Assets acquired. The valuation resulted in a fair value of approximately $8
            million. Accordingly, management concluded that the valuation of $8 million for
 3          the Assets to be the most reliable measure of fair value of the Transaction for the
 4          Company. In addition, management determined that sales and cost of sales for the
            quarter ended March 31, 2013 were incorrect.
 5

 6 (Emphasis added).

 7          89.   CannaVest further disclosed that as a result, the carrying amount of

 8 intangible assets and goodwill in the Company’s condensed consolidated balance sheets

 9 included in the Company’s first, second and third quarter Forms 10-Q would be reduced.
10 For example, for the first quarter 2013, the Company disclosed:

11          Intangible assets as presented in the financial statements as of March 31,
            2013 were in error. The financial statements previously included
12          $34,045,000 of intangible assets acquired in connection with the
13          PhytoSPHERE Transaction, which were labeled as goodwill on the
            statement of cash flows and classified as intangible assets on the balance
14          sheet. As determined by the valuation of the assets purchased under the
15          PhytoSPHERE Agreement, intangible assets totaled $4,110,000 and
            goodwill totaled $1,855,512.
16

17          90.   CannaVest’s accounting irregularities were the result of the Defendants’
18 intentional or reckless misapplication of clear accounting principles. It was also, as

19 further described below, the result of Defendants’ conscious failure to implement

20 effective control over CannaVest’s financial reporting. As a result of Defendants’

21 accounting irregularities, CannaVest overstated its intangible assets for the first, second

22 and third quarters of 2013, its goodwill was for the second quarter of 2013, and its

23 revenues for the first quarter 2013.

24          91.   In its Form 10-K for the year ended December 31, 2013, filed with the SEC
25 on March 28, 2014, CannaVest disclosed that it had “accounted for the acquisition of the

26 assets of PhytoSphere Systems, LLC in accordance with the Accounting Standards

27 Codification (“ASC”) Topic 805, Business Combinations (‘ASC Topic 805’).” “ASC

28 Topic 805 establishes principles and requirements for recognizing and measuring the

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 1 total consideration transferred to and the assets acquired, liabilities assumed and any

 2 non-controlling interests in the acquired target in an asset purchase,” CannaVest

 3 disclosed. The Company further disclosed that “ASC Topic 805 also provides guidance

 4 for recognizing and measuring goodwill acquired and other tangible and intangible

 5 assets.”

 6          92.   GAAP required CannaVest to account for its acquisition of the assets of
 7 PhytoSphere pursuant to the requirements of ASC 805, Business Combinations. It

 8 appears that the Company utilized the acquisition (purchase) method prescribed under

 9 certain provisions of ASC 805. Under the purchase method of accounting, the assets
10 acquired and liabilities assumed are initially recorded at their respective fair market

11 values. The excess of the purchase price over the fair value of the net assets acquired is

12 recognized and reported as an asset called goodwill. Goodwill is considered to be an

13 asset because future benefits are expected from it in combination with the future benefits

14 of other assets acquired in the acquisition.

15          93.   ASC 805 provides guidance on the accounting and reporting for
16 transactions that represent business combinations to be accounted for under the

17 acquisition method. ASC 805-10-05-1; ASC 805-10-05-4.

18          94.   The acquisition method requires the acquirer to recognize, separately from
19 goodwill, the identifiable assets acquired, the liabilities assumed, and any non-

20 controlling interest in the acquiree. ASC 805-20-25-1.

21          95.   Moreover, the acquirer shall recognize separately from goodwill the
22 identifiable intangible assets acquired in the business combination. An intangible asset is

23 identifiable if it meets either the separability criterion or the contractual-legal criterion

24 described in the definition of identifiable. ASC 805-20-25-10.

25          96.   An asset is separable if it is capable of being separated or divided. An
26 intangible asset meets the contractual-legal criterion if it arises from contractual or other

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 1 legal rights, regardless of whether those rights are transferable or separable from the

 2 entity of from other rights and obligations. ASC 805-10-20. (Glossary).

 3          97.   The acquirer shall measure the identifiable assets acquired, the liabilities
 4 assumed, and any non-controlling interest in the acquiree at their acquisition-date fair

 5 values. ASC 805-20-30-1.

 6          98.   As set forth above, Defendants allowed the Company to violate GAAP in
 7 that it misapplied clear accounting principles.

 8          99.   CannaVest, Mona, Mackay, Titus and Llamas were all sued by a proposed
 9 class of shareholders for securities fraud in the United States District Court for the
10 Southern District of New York 3 and by the SEC in the United States District Court for

11 the District of Nevada. 4 Confidential Witness (“CW 1”) from the related securities fraud

12 action, a financial consultant who joined the Company in May 2013, knew “right away”

13 that CannaVest had misapplied its accounting and the Company’s financial statements

14 would need to be restated. CW 1, a financial consultant specializing in the life sciences

15 field, served as a consultant for and at CannaVest from about May 2013 until

16 CannaVest’s audit was completed the following spring of 2014. CW 1 worked directly

17 with Defendant CEO Mona, Jr., and reported frequently to the CannaVest Board of

18 Directors, including non-party Wilson, a CPA and a Director of CannaVest at the time.

19          100. As soon as CW 1 started working with CannaVest, CW 1 said, he/she
20 recognized immediately that a restatement of the Company’s financial statements would

21 be needed due to the way goodwill had been booked and as a result of unreliable

22 valuation methods used for same. Specifically, immediately upon viewing the most

23 recent quarterly statement (2013 Q1), CW 1 noticed that CannaVest was improperly

24

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      3
26      In re CannaVest Corp. Securities Litigation, 14-cv-2900 (PG) (S.D.N.Y.)
      4
        Securities and Exchange Commission v. CannaVest Corp. a/k/a CV Sciences, Inc.
27
   and Michael J. Mona, Jr., 2:17-cv-01681-APG-PAL (D. Nev.)
28

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 1 amortizing goodwill from the PhytoSphere acquisition, which CW 1 recognized as

 2 improper accounting.5 However, CW 1 said, the specific restatement could not be

 3 known until a full audit had been conducted. “I knew we were going to have to get a re-

 4 evaluation on the assets, but I didn’t want to restate with incomplete information,” CW 1

 5 said.

 6          101. That CannaVest had improperly amortized goodwill was a red flag for CW
 7 1 because goodwill is not supposed to be amortized but instead is supposed to be tested

 8 annually for any impairment. CW 1 also saw plainly that the inventory was valued by a

 9 dollar figure per kilogram, while sales prices were based on the percentage of
10 cannabidiol in each product. This inconsistency made no sense to CW 1.

11          102. CW 1 said the discussion about the need to restate began after CW 1’s
12 arrival in May 2013 and that it took place between CW 1 and Defendant CEO Mona, Jr.

13 and members of the Company’s Board of Directors. CW 1 said his/her notes and access

14 to correspondence are gone, but some of these discussions likely took place through

15 written reports, memorandums and/or emails. “My notes are gone [but] I recall that I

16 mentioned that [re-valuation of assets and restatement] to Mike [Mona Jr.] once, if not

17 more than once, and probably [to] the board,” CW 1 said. CW 1 revealed that there were

18 extensive discussions among top management, the auditors and counsel as to whether or

19 not the Company would have to restate its financials. “I remember hearing, ‘Oh, it

20 makes us look like we don’t know what we’re doing,’” CW 1 said, regarding the

21 discussions with Defendant CEO Mona, Jr. and the Board of Directors.

22

23

24
      5
         As admitted by the Company, see above, CannaVest amortized its intangible
25
   assets in the first quarter 2013, recognizing it as a non-cash expense item for
26 amortization of goodwill in its cash flow statement for that same quarter.

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 1          103. CW 1 believes CannaVest’s original valuation of its acquisition of
 2 PhytoSphere was conducted by then-Director Wilson. Wilson was a partner in the Las

 3 Vegas CPA firm, Wilson & Company.

 4          6.    CannaVest Failed to Disclose Material Related Party
 5                Transactions in Violation of GAAP

 6          104. GAAP and SEC regulations provide that a public company and its
 7 management must disclose related party transactions in financial statements filed with

 8 the SEC. ASC provides guidance on, and requirements for, the disclosure of transactions

 9 with related parties.
10          105. ASC 850-10-50-1 provides that financial statements shall include
11 disclosures of material related party transactions, other than compensation arrangements,

12 expense allowances, and other similar items in the ordinary course of business.

13          106. For SEC Registrants, such as CannaVest, SEC Regulation S-X, Rule 4-
14 08(k)(1) sets forth the following additional requirements with respect to financial

15 statements required to be filed with the SEC in that related party transactions should be

16 identified and the amounts stated on the face of the balance sheet, income statement, or

17 statement of cash flows.

18          107. On April 24, 2014 — CannaVest disclosed for the first time that 100% of
19 its revenues from each of the first, second, and third quarters 2013 were from sales to

20 related party Medical Marijuana, Inc.

21          108. That all CannaVest’s sales were made to Medical Marijuana, Inc. was
22 material to investors. Indeed, GAAP provides that transactions involving related parties

23 cannot be presumed to be carried out on an arm’s-length basis, as the requisite

24 conditions of competitive, free-market dealings may not exist. ASC 850-10-50-5. As

25 generally accepting auditing standard, AU § 334.12 explains, “it will generally not be

26 possible to determine whether a particular transaction would have taken place if the

27 parties had not been related, or assuming it would have taken place, what the terms and

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 1 manner of settlement would have been.” It is precisely because related party transactions

 2 lend themselves to favorable terms and/or fraudulent conduct that might not exist in

 3 transactions between unrelated parties that GAAP requires disclosure of material related

 4 party transactions. “Information about transactions with related parties that would

 5 make a difference in decision making shall be disclosed so that users of the financial

 6 statements can evaluate their significance.” ASC 850-10-05-10 (emphasis added).

 7          109. Related parties may enter into transactions that give the appearance of
 8 having been conducted on an arm’s-length basis in order to misrepresent the actual risk

 9 of the enterprise. As such, the potential for fraud or misconduct is significant because
10 related party transactions provide an excellent opportunity to hide malfeasance. By

11 failing to record related party transactions or reveal the related party nature, insiders can

12 use these transactions to disguise compensation, misappropriate assets, and/or misstate

13 financial statements. Even if misrepresentation is not intended, the nature of related

14 party transactions is such that their terms may be more favorable than those attainable by

15 an outside party. As a consequence, the economic reality of a particular business event

16 may not be apparent without complete disclosure.

17          110. A further concern about related party transactions is the possibility that the
18 parties are committing fraud. Id.at 9. The auditing interpretation to Statements on the

19 Auditing Standards No. 45 (AU § 334) states that the “risk associated with

20 management’s assertions about related party transactions is often assessed as higher

21 than for many other types of transactions because of the possibility that the parties to

22 the transaction are motivated by reasons other than those that exist for most business

23 transactions” Id. (Emphasis added).

24          111. Defendants failed to disclose that all of the Company’s revenues for the
25 first, second and third quarters of 2013 were from sales to a related party. As a result,

26 CannVest’s financial statements for each of these quarters were not compliant with

27 GAAP and were materially false and misleading.

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 1          7.    Throughout and Prior to the Relevant Period, as Defendants Knew,
 2
                  CannaVest had Significant Deficiencies and Material Weaknesses in its
                  Control Over Financial Reporting
 3

 4          112. CannaVest has a history of “significant deficienc[ies]” and “material

 5 weakness[es]” in its control over financial reporting which predated and continued

 6 throughout the Relevant Period. Defendants were aware of these material weaknesses

 7 prior to and throughout the Relevant Period. Defendants were at a minimum culpably

 8 reckless in misrepresenting that the Company’s financial statements complied with

 9 GAAP, despite their knowledge that significant deficiencies and material weaknesses in
10 CannaVest’s control over financial reporting had not been remediated at the time such

11 statements were made, and thus Defendants had no basis for allowing the Company to

12 make such representations.

13          113. Subsequently, in its Forms 10-Q for the first quarter ended March 31, 2013,

14 second quarter ended June 30, 2013, and third quarter ended September 30, 2013

15 CannaVest reported material weaknesses in its internal control over financial reporting:

16 “The Company’s management has identified a material weakness in the effectiveness of

17 internal control over financial reporting related to a shortage of resources in the

18 accounting department required to assure appropriate segregation of duties with

19 employees having appropriate accounting qualifications related to the Company’s

20 unique industry accounting and disclosure rules.”

21          114. In its Form 10-K for the fourth quarter and year ended December 31, 2013,
22 CannaVest made these further disclosures:

23          [T]he Company’s management concluded that the Company’s internal
            controls over financial reporting were not effective in that there were
24          material weaknesses as of December 31, 2013. …
25
            A material weakness is a deficiency or combination of deficiencies in
26          internal control over financial reporting, such that there is a reasonable
27          possibility that a material misstatement of the annual or interim financial
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 1          statements will not be prevented or detected on a timely basis by the
 2
            Company’s internal controls.

 3                                              ***
 4
            Management is aware that there is a lack of segregation of duties and
 5          accounting personnel with appropriate qualifications at the Company
 6          due to the small number of employees dealing with general
            administrative and financial matters. This constitutes a deficiency in the
 7          internal controls. Management has taken steps to rectify these deficiencies.
 8          The Company hired a full-time Controller in February 2014 who is focused
            on developing policies and procedures to require proper segregation of
 9          duties.
10
            Management is aware that there is a lack of proper controls related to the
11          inventory purchase cycle. Specifically, there is a lack of control functions
12          and segregation of duties involved with purchasing and receiving
            inventory. This constitutes a deficiency in internal controls. The Company
13          will implement proper controls and add additional employees to the
14          process to improve segregation of duties.

15          Management is aware of a deficiency related to improper determination
16          of the purchase price allocation for the assets acquired related to
            PhytoSphere Systems. This constitutes a deficiency in internal controls.
17          Specifically, management determined that the purchase price used and
18          the allocation of the purchase price as previously disclosed in the
            Company’s Form 10Q’s were not in accordance with GAAP. As a result
19          of this deficiency, Forms 10Q filed by the Company for Q1, Q2 and Q3
20          2013 cannot be relied upon as the information included therein is
            materially incorrect.
21

22 (Emphasis added).

23          115. CW 1, the financial consultant who served as a consultant for and at
24 CannaVest from about May 2013 until CannaVest’s audit was completed the following

25 spring of 2014, expounded on CannaVest’s significant deficiencies and material

26 weaknesses in the Company’s control over financial reporting. Again, CW 1 worked

27 \\\

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 1 directly with Defendant CEO Mona, Jr., and reported frequently to the CannaVest board

 2 of directors, including then-Director Wilson, a CPA.

 3          116. CW 1 described his job as a consultant at CannaVest as trying to “bring
 4 order to chaos.” CW 1 said much of the chaos he/she encountered stemmed from

 5 accounting functions being handled by people ill equipped for the task. CW 1 named

 6 then-Director Wilson as an example.

 7          117. Then-Director Wilson was a director and President of Wilson & Company,
 8 a professional certified public accounting firm in Las Vegas, Nevada. Based on

 9 information provided by CW 1 and referenced in SEC documents, it appears that Turner
10 & Stone took over CannaVest’s accounting from Wilson & Company. “Ed [Wilson] had

11 been a member of the Board of Directors, and his firm had done some accounting work

12 initially,” CW 1 said. Turner & Stone was followed by Anton & Chia (resigned

13 November 14, 2013), which in turn was followed by PKF International (engaged

14 January 14, 2014). Anton & Chia was serving as the Company’s auditor, doing

15 quarterlies, CW 1 said, when he/she arrived at CannaVest, and he/she recommended its

16 replacement.

17          118. CW 1 assumed (but did not know for sure) it was Wilson & Company that
18 oversaw the initial transaction with PhytoSphere and the valuation of the goodwill. CW

19 1 believed it was Wilson’s firm that improperly amortized the goodwill. CW 1 suggested

20 that Wilson & Company was out of its element providing financial reporting services to

21 CannaVest. “All I know is that they don’t normally play in this space,” CW 1 said,

22 referring to complex filings for publicly traded companies. “From what I understand,

23 they do primarily tax, and they’re probably not someone who looks at new technologies

24 and how to value it.”

25          119. CannaVest’s Form 10-Q as filed with the SEC on or about May 20, 2013
26 reported accounts receivable of as of March 31, 2013 in the sum of $1,671,438,

27 intangible assets (which included goodwill) of $33,656,833, revenue of $1,275,000, and

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 1 Cost of Goods Sold of $501,500. This Form 10-Q, which was signed by Defendant

 2 Mona as President and CEO of CannaVest, was subsequently amended with an

 3 explanation which stated:

 4                This Amendment No. 2 to Form 10-Q/A (“Amendment No.
 5                2”) amends Amendment No. 1 of the Quarterly Report of
                  CannaVest Corp. (the “Company”) on Form 10-Q for the
 6                quarter ended March 31, 2013, as filed with the Securities and
 7                Exchange Commission on May 30, 2013 (the “Amendment
                  1”). This Amendment No. 2 is being filed for the purpose of
 8                restating our Financial Statements, amending related
 9                disclosure in the section titled Management’s Discussion and
                  Analysis of Financial Condition and in the Notes to Financial
10                Statements and conforming the disclosures in the Notes to
11                Financial Statements to those contained in the Company’s
                  Annual Report on Form 10-K for the fiscal year ended
12                December 31, 2013. This restatement is related to the
13                reporting of the purchase price and allocation thereof related
                  to the purchase of certain assets of PhytoSphere Systems,
14                LLC. We have determined that the purchase price and
15                allocation of the purchase price originally reported did not
                  represent the fair market value of the transaction in
16                accordance with accounting principals generally accepted in
17                the United States. In addition, management determined that
                  sales and cost of sales originally reported for the quarter
18                ended March 31, 2013 were incorrect. This Amendment No.
19                2 will include corrections of those amounts and resulting
                  changes to the financial statements.
20

21                We have not updated the information contained herein for
                  events occurring subsequent to May 30, 2013, the filing date
22                of the Original Filing.
23
            120. The Amended Form 10-Q contained the following disclosures which were
24
      omitted from the original filing with the SEC:
25
                  6. RELATED PARTY TRANSACTIONS
26                On March 1, 2013, the Company issued a Promissory Note
27                (the “Note”) to Roen Ventures, LLC, a Nevada limited
                  liability company (“Roen Ventures”), in exchange for loans
28

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 1                provided and to be provided in the future in an amount of up
 2
                  to $2,000,000. As of March 31, 2013, the balance on the
                  Note was $1,080,500. The Note is an unsecured obligation of
 3                the Company accruing interest at 5% that is due and payable
 4                in two (2) years, on March 1, 2015. The Company’s President
                  and member of the Board of Directors, Michael Mona, Jr.,
 5                holds a 50% interest in Roen Ventures.
 6
                  100% of the Company’s revenue of $1,082,375 for the three
 7                months ended March 31, 2013 and accounts receivable
 8                totaling $1,478,813 as of March 31, 2013, were from
                  affiliates of Medical Marijuana, Inc., a stockholder of the
 9                Company.
10
                  7. LINE OF CREDIT - ROEN VENTURES, LLC
11                On March 1, 2013, the Company entered into a lending
12                arrangement with Roen Ventures, which is owned 50% by the
                  Company’s President, Secretary and Treasurer who is also a
13                director. The promissory note is for up to $2,000,000, bears
14                interest at 5.0% and is unsecured. There are no specific
                  repayment terms except that all unpaid principal and accrued
15                interest is due and payable on March 1, 2015. As of March
16                31, 2013, the Company has a balance of $1,080,500 on this
                  promissory note.
17

18          121. Financial statement restatements were described as follows:
19                a)     The financial statements for the three months ended
                  March 31, 2013 recognized revenue and accounts receivable
20                of $192,625 and cost of goods sold of $296,050 that should
21                not have been recognized. Revenues and accounts receivable
                  in the amount of $192,625 related to the sales value of
22                inventory that was transferred to a manufacturer for inclusion
23                in finished goods and an error in calculating the price of the
                  ending inventory as of the end of the period. Cost of goods
24                sold in the amount of $296,050 related to the cost of
25                inventory sent for manufacturing in the amount of $39,865
                  being included in cost of goods sold and $256,185 relating to
26                errors related to calculating ending inventory.
27

28

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 1                b)     Not all of the prepaid inventory purchased as part of the
 2
                  PhytoSphere Transaction in the amount of $1,260,510 was
                  included in the financial statements as of March 31, 2013.
 3                This resulted in an overstatement of intangible assets and an
 4                understatement of prepaid inventory for the period. Prepaid
                  inventory represents the amount of inventory purchased but
 5                not yet received prior to closing the Transaction, the rights to
 6                receive the inventory and subsequent receipt of inventory
                  transferred to the Company upon closing of the Transaction.
 7

 8                c)     Amortization expense as reported in the financial
                  statements for the three months ended March 31, 2013, in the
 9                amount of $378,167, was in error. Based on the restated
10                value of assets purchased from PhytoSphere, intangible assets
                  totaled $4,110,000. Restated amortization on those assets for
11                the three months ended March 31, 2013, is $137,000,
12                representing a decrease of $241,167 for the period. This
                  resulted in an overstatement of amortization expense and
13                operating expenses of $241,167.
14
                  d)     Intangible assets as presented in the financial
15                statements as of March 31, 2013 were in error. The financial
16                statements previously included $34,045,000 of intangible
                  assets acquired in connection with the PhytoSphere
17                Transaction, which were labeled as goodwill on the statement
18                of cash flows and classified as intangible assets on the
                  balance sheet. As determined by the valuation of the assets
19                purchased under the PhytoSphere Agreement, intangible
20                assets totaled $4,110,000 and goodwill totaled $1,855,512.
                  The effect of this error resulted in overstatement of
21                intangible assets of $28,079,488.
22
                  e)     The amount previously reported as due to PhytoSphere
23                pursuant to the Agreement as of March 31, 2013 was reported
24                as $30,500,000. This was calculated based on a Transaction
                  amount of $35,000,000 and a set per share price between
25                $4.50 and $6.00 under the Agreement. In reviewing the price
26                that the Company’s common stock was trading at during the
                  year, subsequent to March 31, 2013, management determined
27                that using a per share price to value the Transaction may not
28                represent a true measure of the fair market value of the

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 1                Transaction and that obtaining a valuation of the assets
 2
                  purchased from PhytoSphere would be required in order to
                  determine the fair market value of the business acquired.
 3                Accordingly, management determined that the valuation of
 4                $8,020,000 represented a more reliable measure of the fair
                  value of the Transaction. As a result of that valuation, the
 5                per share price for shares of common stock issued to
 6                PhytoSphere was adjusted to $1.21 to reflect the revised value
                  of the Transaction. Accordingly, the amount recorded upon
 7                issuance of the shares of common stock to PhytoSphere and
 8                the total amount due to PhytoSphere was adjusted to reflect
                  the value of the Transaction. As a result, the amount shown
 9                as due to PhytoSphere was overstated by $23,572,360.
10                Further, the value of the shares of common stock issued
                  through March 31, 2013 to PhytoSphere was overstated by
11                $3,407,640.
12
                  f)    Inventory as originally reported in the financial
13                statements as of March 31, 2013, was understated by
14                $125,027. This was a result of an overstatement of cost of
                  goods sold in the amount of $296,050, offset by an
15                adjustment for the value of inventory acquired from
16                PhytoSphere in the amount of $171,023. (emphasis added).
17          122. CannaVest’s Form 10-Q as filed with the SEC on or about August 13, 2013
18 reported accounts receivable and goodwill of $1,561,496 and $26,998,125, respectively,

19 as of June 30, 2013. It also reported revenue of $107,683 and cost of goods sold of

20 $16,292 for the quarter ended June 30, 2013. This Form 10-Q, which was signed by

21 Defendant Mona as President and CEO of CannaVest, was subsequently amended with

22 an explanation which stated:

23                This Amendment No. 1 to Form 10-Q (“Amendment No. 1”)
24                amends the Quarterly Report of CannaVest Corp. (the
                  “Company”) on Form 10-Q for the quarter ended June 30,
25                2013 as filed with the Securities and Exchange Commission
26                on August 13, 2013 (the “10-Q”). This Amendment No. 1 is
                  being filed for the purpose of restating our Financial
27                Statements, amending related disclosure in the section titled
28                Management’s Discussion and Analysis of Financial

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 1                Condition and in the Notes to the Financial Statements and
 2
                  conforming the disclosures in the Notes to the Financial
                  Statements to those contained in the Company’s Annual
 3                Report on Form 10-K for the fiscal year ended December 31,
 4                2013.

 5                This restatement is related to the reporting of the purchase
 6                price and allocation thereof related to the purchase of certain
                  assets of PhytoSphere Systems, LLC. We have determined
 7                that the purchase price and allocation of the purchase price
 8                originally reported did not represent the fair market value of
                  the transaction in accordance with accounting principals
 9                generally accepted in the United States. This Amendment
10                will include corrections of those amounts and resulting
                  changes to the financial statements.
11

12                We have not updated the information contained herein for
                  events occurring subsequent to August 13, 2013, the filing
13                date of the Original Filing.
14
            123. The Amended Form 10-Q contained the following disclosures which were
15
      omitted from the original filing with the SEC:
16
                  6. RELATED PARTY TRANSACTIONS
17                On March 1, 2013, the Company entered into a lending
18                arrangement with Roen Ventures, LLC, a Nevada limited
                  liability company (“Roen Ventures”), which is owned 50% by
19                the Company’s President and Chief Executive Officer who is
20                also a director, Michael Mona, Jr. The Promissory Note (the
                  “Note”) issued to Roen Ventures provides a line of credit up
21                to $4,000,000, bears interest at 5.0% and is unsecured. As
22                previously disclosed in the Company’s Current Report on
                  Form 8-K filed with the SEC on July 31, 2013, on July 25,
23                2013, the disinterested members of our Board of Directors
24                (the “Board”) approved an amendment to the terms of the
                  Note to increase the line of credit to $6,000,000 and provide
25                for the ability of Roen Ventures to convert, in its sole
26                discretion, the outstanding balance of the Note into shares of
                  the common stock of the Company at a conversion price to be
27                determined following the conclusion of a valuation of the
28                common stock of the Company. There are no specific

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 1                repayment terms except that all unpaid principal and accrued
 2
                  interest under the Note is due and payable on July 25, 2015.
                  As of June 30, 2013, the Company had a balance of
 3                $3,280,500 on this Note. Management has not yet determined
 4                the value of the conversion feature.

 5                At June 30, 2013, 100% of the Company’s revenue of
 6                $107,683 and $1,190,058 for the three and six months ended
                  June 30, 2013, respectively, and accounts receivable totaling
 7                $1,561,496 at June 30, 2013, were from affiliates of Medical
 8                Marijuana, Inc., a stockholder of the Company.

 9                7. LINE OF CREDIT - ROEN VENTURES, LLC
10                As discussed in Note 6 above, on March 1, 2013, the
                  Company entered into a lending arrangement with Roen
11                Ventures, which is owned 50% by the Company’s President
12                and Chief Executive Officer who is also a director, Michael
                  Mona, Jr. The Note issued to Roen Ventures provides a line
13                of credit up to $4,000,000, bears interest at 5.0% and is
14                unsecured. As previously disclosed in our Current Report on
                  Form 8-K filed with the SEC on July 31, 2013, on July 25,
15                2013, the disinterested members of the Company’s Board of
16                Directors approved an amendment to the terms of the Note to
                  increase the line of credit to $6,000,000 and provide for the
17                ability of Roen Ventures to convert, in its sole discretion, the
18                outstanding balance of the Note into shares of the common
                  stock of the Company at a conversion price to be determined
19                following the conclusion of a valuation of the common stock
20                of the Company. There are no specific repayment terms
                  except that all unpaid principal and accrued interest under the
21                Note is due and payable on July 25, 2015. As of June 30,
22                2013, the Company had a balance of $3,280,500 on this Note.
                  Management has not yet determined the value of the
23                conversion feature. (emphasis added).
24
            124. The Company’s financial statement restatements were described as follows:
25
                  a)     Amortization expense as previously reported for the
26                three and six months ended June 30, 2013, in the amounts of
27                $573,325 and $951,492, respectively, was in error. Based on
                  the restated value of assets purchased from PhytoSphere,
28

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 1                intangible assets totaled $4,110,000. Restated amortization
 2
                  on those assets for the three and six months ended June 30,
                  2013 is $205,500 and $342,500, respectively. This resulted
 3                in an overstatement of amortization expense and operating
 4                expenses of $367,825 and $608,992 for the three and six
                  months ended June 30, 2013, respectively.
 5

 6                b)     Intangible assets previously reported in the financial
                  statements as of June 30, 2013 were in error. The financial
 7                statements previously reported $5,947,387 of intangible assets
 8                acquired in connection with the PhytoSphere Transaction. As
                  determined by the valuation of the assets purchased under the
 9                PhytoSphere Agreement, intangible assets totaled $4,110,000.
10                This overstatement of $1,837,387 was partially offset by an
                  overstatement of accumulated amortization of $608,992 as
11                noted above. The resulting overstatement of intangible
12                assets at June 30, 2013 was $1,228,395.

13                c)     Goodwill previously reported in the financial
14                statements at June 30, 2013 was overstated by $25,142,613.
                  The goodwill reported was $26,998,125, previously
15                determined based on a transaction amount of $35,000,000 for
16                the PhytoSphere Transaction. The valuation of acquired
                  assets set a value of goodwill of $1,855,512. The difference
17                of $25,142,613 represents the difference between these two
18                amounts.
19                d)     The amount previously reported as due to PhytoSphere
20                pursuant to the PhytoSphere Agreement at June 30, 2013 was
                  reported as $23,750,000. This was calculated based on a
21                Transaction amount of $35,000,000 and a set per share price
22                between $4.50 and $6.00 under the PhytoSphere Agreement.
                  In reviewing the price that the Company’s common stock was
23                trading at during the year, subsequent to June 30, 2013,
24                management determined that using a per share price to value
                  the Transaction may not represent a true measure of the fair
25                market value of the Transaction and that obtaining a valuation
26                of the assets purchased from PhytoSphere would be required
                  in order to determine the fair market value of the business
27                acquired. Accordingly, management determined that the
28                valuation of $8,020,000 represented a more reliable measure

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 1                of the fair value of the Transaction. As a result of that
 2
                  valuation, the per share price for shares of common stock
                  issued to PhytoSphere was adjusted to $1.21 to reflect the
 3                revised value of the Transaction. Accordingly, the amount
 4                recorded upon issuance of the shares of common stock to
                  PhytoSphere and the total amount due to PhytoSphere was
 5                adjusted to reflect the value of the Transaction. As a result,
 6                the amount due to PhytoSphere was revised to $4,963,906
                  and the value of common stock reflected for the shares of
 7                common stock issued as payment in the Transaction was
 8                $2,306,094. As a result, the amount shown as due to
                  PhytoSphere at June 30, 2013 was overstated by
 9                $18,786,094 and the amount recorded for the shares of
10                common stock issued to PhytoSphere through June 30, 2013
                  was overstated by $8,193,906. (emphasis added).
11

12          125. CannaVest’s Form 10-Q as filed with the SEC on or about November 14,

13 2013 reported accounts receivable of $1,661,733 and intangible assets of $4,466,666 as

14 of September 30, 2013. It also reported goodwill impairment of $26,998,125, revenue

15 of $163,662, and cost of goods sold of $48,551 for the quarter ended September 30,

16 2013. This Form 10-Q, which was signed by Defendant Mona as President and CEO of

17 CannaVest, was subsequently amended with an explanation which stated:

18                This Amendment No. 2 to Form 10-Q (“Amendment No. 2”)
                  amends the Quarterly Report of CannaVest Corp. (the
19                “Company”) on Form 10-Q for the quarter ended September
20                30, 2013, as filed with the Securities and Exchange
                  Commission (the “SEC”) on November 14, 2013, as amended
21                by the Amendment No. 1 to the Quarterly Report on Form 10-
22                Q for the quarter ended September 30, 2013, as filed with the
                  SEC on November 21, 2013 (collectively, the “10-Q”). This
23                Amendment No. 2 is being filed for the purpose of restating
24                our Financial Statements, amending related disclosure in the
                  section titled Management’s Discussion and Analysis of
25                Financial Condition and in the Notes to the Financial
26                Statements and conforming the disclosures in the Notes to the
                  Financial Statements to those contained in the Company’s
27                Annual Report on Form 10-K for the fiscal year ended
28                December 31, 2013. This restatement is related to the

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 1                reporting of the purchase price and allocation thereof related
 2
                  to the purchase of certain assets of PhytoSphere Systems,
                  LLC. We have determined that the purchase price and
 3                allocation of the purchase price originally reported did not
 4                represent the fair market value of the transaction in
                  accordance with accounting principals generally accepted in
 5                the United States. This Amendment No. 2 will include
 6                corrections of those amounts and resulting changes to the
                  financial statements.
 7

 8                We have not updated the information contained herein for
                  events occurring subsequent to November 14, 2013, the filing
 9                date of the Original Filing.
10
            126. The Amended Form 10-Q contained the following disclosures which were
11
      omitted from the original filing with the SEC:
12
                  6. RELATED PARTY TRANSACTIONS
13                On March 1, 2013, the Company entered into a lending
14                arrangement with Roen Ventures, LLC, a Nevada limited
                  liability company (“Roen Ventures”), which is owned 50% by
15                the Company’s President and Chief Executive Officer who is
16                also a director, Michael Mona, Jr. The Promissory Note (the
                  “Note”) issued to Roen Ventures provides a line of credit up
17                to $4,000,000, bears interest at 5.0% and is unsecured. As
18                previously disclosed in the Company’s Current Report on
                  Form 8-K filed with the SEC on July 31, 2013, on July 25,
19                2013, the disinterested members of our Board of Directors
20                (the “Board”) approved an amendment to the terms of the
                  Note to increase the line of credit to $6,000,000 and provide
21                for the ability of Roen Ventures to convert, in its sole
22                discretion, the outstanding balance of the Note into shares of
                  the common stock of the Company at a conversion price to be
23                determined following the conclusion of a valuation of the
24                common stock of the Company. There are no specific
                  repayment terms except that all unpaid principal and accrued
25                interest under the Note is due and payable on July 25, 2015.
26                As of September 30, 2013, the Company had a balance of
                  $4,780,500 on this Note. As of September 30, 2013,
27                management had not yet determined the value of the
28                conversion feature.

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 1                At September 30, 2013, 100% of the Company’s accounts
 2
                  receivable totaling $1,661,733 were from affiliates of
                  Medical Marijuana, Inc., a stockholder of the Company.
 3                For the three and nine months ended September 30, 2013,
 4                the Company recognized revenues of $163,662 and
                  $1,353,720, respectively. 100% of those revenues related to
 5                sales to affiliates of Medical Marijuana, Inc.
 6
                  7. LINE OF CREDIT - ROEN VENTURES, LLC
 7                As discussed in Note 6 above, on March 1, 2013, the
 8                Company issued the Note to Roen Ventures, in exchange for
                  loans provided and to be provided in the future in an amount
 9                of up to $2,000,000, which was subsequently increased to
10                $4,000,000, then further increased to $6,000,000. As of
                  September 30, 2013, the balance on the Note was $4,780,500.
11                The Note is an unsecured obligation of the Company accruing
12                interest at 5% that is due and payable in two years, on July
                  25, 2015. The Company’s President and member of the
13                Board, Michael Mona, Jr., holds a 50% interest in Roen
14                Ventures. As previously disclosed in our Current Report on
                  Form 8-K filed with the SEC on July 31, 2013, the
15                disinterested members of our Board approved an amendment
16                to the terms of the Note to increase the credit line to
                  $6,000,000 and provide for the ability of Roen Ventures to
17                convert, in its sole discretion, the outstanding balance of the
18                Note into shares of the common stock of the Company at a
                  conversion price determined following the conclusion of a
19                valuation of the Company’s common stock.
20
                  Subsequent to September 30, 2013, the valuation determined
21                pursuant to Financial Accounting Standards Board
22                Accounting Standards Codification 718 Stock Compensation,
                  (the “Valuation”) determined that the fair market value of our
23                restricted common stock is $0.68 per share. On November 7,
24                2013, disinterested members of the Board approved an
                  amendment to the Note to allow for conversion of the Note at
25                a conversion price equal to $0.60 per share, which represents
26                a discount of approximately 12% off the fair market value of
                  our restricted common stock. As of November 14, 2013, the
27                balance of the Note is $6,000,000. Roen has informed the
28                Board it intends to convert the outstanding balance of the

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 1                Note into shares of common stock of the Company. Upon
 2
                  conversion of the Note, a total of 10,000,000 shares of the
                  Company’s common stock will be issued to Roen Ventures.
 3

 4                The Company has determined that the conversion feature is
                  considered a beneficial conversion feature and determined its
 5                value on July 25, 2013, the date of the amendment, for
 6                increasing the line of credit to $6,000,000, to be $637,400.
                  The Company calculated the beneficial conversion feature at
 7                its intrinsic value. Accordingly, the beneficial conversion
 8                feature has been accounted for as a discount to the Note and
                  will be amortized using the effective interest method as an
 9                expense over the remaining life of the Note. The
10                amortization of debt discounts for the three and nine months
                  ended September 30, 2013 is $67,095.
11

12          127. The Company’s Financial statement restatements were described as

13 follows:

14                a)     Amortization expense as reported in the financial
                  statements for the three and nine months ended September 30,
15                2013, in the amount of $529,230 and $1,480,722,
16                respectively, was in error. Based on the restated value of
                  assets purchased from PhytoSphere, intangible assets totaled
17                $4,110,000. Restated amortization on those assets for the
18                three months ended September 30, 2013 is $205,500,
                  representing a decrease in amortization expense and operating
19                expenses of $323,730 for the period. Amortization expense
20                for the nine months ended September 30, 2013 was $548,000
                  representing a decrease in amortization expense and operating
21                expenses of $932,722 for the period.
22
                  b)     Intangible assets as presented in the financial
23                statements as of September 30, 2013 were in error. The
24                financial statements previously reported $4,466,666 in net
                  intangible assets acquired in connection with the PhytoSphere
25                Transaction. As restated, the amount of net intangible assets
26                is $3,562,000. The decrease of $904,666 is a result of a
                  difference of $1,837,387 between $5,947,387 in intangible
27                assets originally recorded and $4,110,000 in intangible assets
28                determined by the valuation of assets purchased from

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 1                PhytoSphere. This was partially offset by a difference of
 2
                  $932,722 of accumulated amortization recorded as of
                  September 30, 2013.
 3

 4                c)    Goodwill reported in the financial statements at
                  September 30, 2013, was understated by $1,855,512. The
 5                goodwill as originally reported was $26,998,125, previously
 6                determined based on a transaction amount of $35,000,000 for
                  the PhytoSphere Transaction, which was offset by an
 7                impairment to goodwill of $26,998,125 for a net carrying
 8                value of $0. The valuation of acquired assets, discussed
                  below, set a value of goodwill of $1,855,512, with no
 9                impairment being recorded.
10
                  d)     The amount previously reported as due to PhytoSphere
11                pursuant to the PhytoSphere Agreement at September 30,
12                2013 was reported as $6,499,998. This was calculated based
                  on a Transaction amount of $35,000,000 and a set per share
13                price between $4.50 and $6.00 under the PhytoSphere
14                Agreement. In reviewing the price that the Company’s
                  common stock was trading at during the year, subsequent to
15                September 30, 2013, management determined that using a per
16                share price to value the Transaction may not represent a true
                  measure of the fair market value of the Transaction and that
17                obtaining a valuation of the assets purchased from
18                PhytoSphere would be required in order to determine the fair
                  market value of the business acquired. Accordingly,
19                management determined that the valuation of $8,020,000
20                represented a more reliable measure of the fair value of the
                  Transaction. As a result of that valuation, the per share price
21                for shares of common stock issued to PhytoSphere was
22                adjusted to $1.21 to reflect the revised value of the
                  Transaction. Accordingly, the amount recorded upon
23                issuance of the shares of common stock to PhytoSphere and
24                the total amount due to PhytoSphere was adjusted to reflect
                  the value of the Transaction. As a result, the amount due to
25                PhytoSphere was revised to $1,314,878 and the value of
26                common stock reflected for the shares of common stock
                  issued as payment in the Transaction was $5,755,122. As a
27                result, the amount shown as due to PhytoSphere at
28                September 30, 2013 was overstated by $5,185,120 and the

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 1                amount recorded for the shares of common stock issued to
 2
                  PhytoSphere through September 30, 2013 was overstated by
                  $21,794,880. (emphasis added).
 3

 4                e)     General and administrative expenses originally
                  reported for the three and nine months ended September 30,
 5                2013 were overstated by $461,226 and $1,070,218,
 6                respectively. Amortization expense was overstated by
                  $323,730 for the three months ended September 30, 2013 and
 7                $932,722 for the nine months ended September 30, 2013 due
 8                to a difference in the value of intangible assets originally
                  recorded of $5,947,387 and $4,110,000, as determined based
 9                on the valuation of assets acquired by PhytoSphere discussed
10                above. In addition, $137,496 in research and development
                  expenses were originally included in general and
11                administrative expenses for both the three and nine months
12                ended September 30, 2013 which have been reclassified as
                  research and development expenses.
13

14                f)     For the three and nine months ended September 30,
                  2013, the Company originally reported impairment to
15                goodwill in the amount of $26,998,125, which represented the
16                entire amount of goodwill originally reported. As determined
                  in the valuation of assets purchased from PhytoSphere
17                discussed above, goodwill was determined to be $1,855,512.
18                The Company has determined that there should no
                  impairment to goodwill, as adjusted, at September 30, 2013.
19

20          128. On April 3, 2014, CannaVest filed a Form 8-K, which disclosed that
21 CannaVest’s Forms 10-Q for the quarterly periods ended March 31, 2013, June 30,

22 2013, and September 30, 2014 would be restated to correct material deficiencies in these

23 filings. In response to this disclosure, the price of CannaVest’s stock dropped by $7.30

24 per share.

25          129. On April 14, 2014, CannaVest filed a Form 8-K, which disclosed material
26 misstatements in the figures presented in the financial statements which appeared in the

27 above referenced initially filed Form 10-Q as follows:

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 1                On March 28, 2014, management of CannaVest Corp. (the
 2
                  “Company”) concluded that the previously issued financial
                  statements contained in the Company’s Quarterly Reports on
 3                Form 10-Q for the quarters ended March 31, 2013, June 30,
 4                2013 and September 30, 2013 (the “Forms 10-Q”) should no
                  longer be relied upon because of errors related to the purchase
 5                price and the purchase price allocation for the assets acquired
 6                (the Assets”) related to PhytoSphere Systems, LLC
                  (“PhytoSphere”).
 7

 8                Specifically, management determined that the purchase price
                  and the allocation of the purchase price as previously
 9                disclosed in the Forms 10-Q were not in accordance with
10                accounting principals generally accepted in the United States
                  (“GAAP”). The Company initially reported the acquisition of
11                the Assets (the “Transaction”) based on the negotiated
12                purchase price of $35 million which had a floor and ceiling
                  locked on the value of the Company’s common stock to be
13                issued of between $4.50 and $6.00, as reflected in the
14                Agreement for Purchase and Sale of Assets entered into by
                  the Company and PhytoSphere. In reviewing the price that
15                the Company’s common stock was trading at during the year,
16                management determined that although the negotiated price of
                  the Transaction was $35 million, that price may not represent
17                the fair market value of the Assets acquired. As a result,
18                management determined that obtaining a valuation of the
                  Assets would be required in order to determine the fair value
19                of the Assets acquired. The valuation resulted in a fair value
20                of approximately $8 million.
21                Accordingly, management concluded that the valuation of $8
22                million for the Assets to be the most reliable measure of fair
                  value of the Transaction for the Company. In addition,
23                management determined that sales and cost of sales for the
24                quarter ended March 31, 2013 were incorrect.
25                The Company has determined that it is necessary to correct
26                such errors for the adjusted value of the Transaction and the
                  shares of the Company’s common stock issued and to adjust
27                the asset allocation methodology for the Transaction as
28                originally determined by management. As a result, the

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 1                carrying amount of intangible assets and goodwill in the
 2
                  Company’s condensed consolidated balance sheets filed with
                  the Forms 10-Q will be reduced. Further, the resulting
 3                amortization cost recorded to the condensed consolidated
 4                statements of operations filed with the Forms 10-Q will be
                  decreased by $241,167, $367,825 and $323,730 for the
 5                quarters ended March 31, 2013, June 30, 2013 and September
 6                30, 2013, respectively. The restated amortization cost will be
                  $137,000, $205,500 and $205,500 for the quarters ended
 7                March 31, 2013, June 30, 2013 and September 30, 2013,
 8                respectively, resulting in $548,000 total amortization expense
                  as opposed to $1,480,722 as originally reported.
 9
10                Goodwill was reported as $26,998,125 at March 31, 2013 and
                  June 30, 3013, in the condensed consolidated balance sheets
11                with an impairment of goodwill in the amount of $26,998,125
12                recorded in the condensed consolidated statement of
                  operations for the quarter ended September 30, 2013.
13                Goodwill will be restated as $1,855,512 and there will be no
14                impairment to goodwill recorded. Therefore, as restated,
                  goodwill will be reported as $1,855,512 on the condensed
15                consolidated balance sheets as of March 31, 2013, June 30,
16                2013 and September 30, 2013. In addition to the adjustments
                  to the Transaction accounting, sales and cost of sales for the
17                quarter ended March 31, 2013 were misstated. Sales
18                originally were reported as $1,275,000 will be restated to
                  $1,082,375, representing a reduction of $192,625. This
19                amount is being restated to correct an error whereby the sales
20                value of good transferred for manufacturing was included in
                  sales. Cost of goods sold were reported as $501,500 for the
21                quarter ended March 31, 2013, and will be restated to
22                $205,450, representing a reduction of $296,050. The
                  restatement to cost of goods sold is to correct an error related
23                to the cost of inventory sent for manufacturing in the amount
24                of $39,865 being included in cost of goods sold and $256,185
                  relating to errors related to calculating ending inventory.
25                Sales and cost of sales for the quarters ended June 30, 2013
26                and September 30, 2013 will not be restated.
27                As originally reported in the Forms 10-Q, operating expenses
28                were $435,559, $1,131,660 and $27,998,112 for the three (3)-

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 1                month periods ended March 31, 2013, June 30, 2013, and
 2
                  September 30, 2013, respectively. Operating expenses will
                  be restated to $194,342, $419,002 and $791,369 for the three
 3                (3)-month periods ended March 31, 2013, June 30, 2013 and
 4                September 30, 2013, respectively, for a total of $1,404,763
                  for the nine months ended September 30, 2013, representing a
 5                total reduction of operating expenses of $27,930,846 from
 6                what was originally reported.

 7          130. In response to this April 14, 2014 disclosure, the price of CannaVest’s stock
 8 dropped by $4.49 per share.

 9          131. The financial position and results of operations which were reported in the
10 three above referenced Form 10-Q’s, as originally filed with the SEC, were materially

11 misstated through improper accounting for goodwill, sales, cost of goods sold, and

12 accounts receivable. In addition, the financial position and results of operations were

13 materially false and misleading because related party transactions (including 100% of

14 CannaVest’s reported revenue and $26,998,125 of CannaVest’s fictitious goodwill),

15 comprised virtually all of CannaVest’s transactions which were material facts concealed

16 from the investing public.

17          132. Generally Accepted Accounting Principles (“GAAP”) notes (ASC 850) that
18 the reliability of financial information involves assurance that accounting measures

19 represent what they purport to represent. It further notes that, without disclosure to the

20 contrary, there is a general presumption that transactions reflected in financial

21 statements have been consummated on an arms-length basis between independent

22 parties. However, that presumption is not justified when related party transactions exist

23 because the requisite conditions of competitive, free-market dealings may not exist.

24 Because it is possible for related party transactions to be arranged to obtain certain

25 results desired by the related parties, the resulting accounting measures may not

26 represent what they usually would be expected to represent. Because of this GAAP

27 states that information about transactions with related parties is useful to users of

28

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 1 financial statements in attempting to compare an enterprise’s results of operations and

 2 financial position with those of prior periods and with those of other enterprises.       It
 3 helps them to detect and explain possible differences. Therefore, information about

 4 transactions with related parties that would make a difference in decision making should

 5 be disclosed so that users of the financial statements can evaluate their significance.

 6          133. In addition, GAAP mandates that “financial statements shall include
 7 disclosures of material related party transactions” and that disclosures “shall” include:

 8 “A description of the transactions, including transactions in which no amounts or

 9 nominal amounts were ascribed, for each of the periods for which income statements are
10 presented, and such other information deemed necessary to an understanding of the

11 effects of the transactions on the financial statements.”

12          134. As part of Accounting Series Release No. 280, General Revisions of
13 Regulation S-X, the Securities and Exchange Commission integrated the GAAP required

14 disclosure requirements pertaining to related party transactions into Regulation S-X.

15          135. The above referenced CannaVest financial statements, which were
16 disseminated to the investing public, failed to comply with the foregoing GAAP. In this

17 regard, although material (as the term is defined in SEC Staff Accounting Bulletin No.

18 99 - “Materiality”) amounts of related party transactions occurred, none of the above

19 specified initial SEC filings or the financial statements contained therein disclosed

20 information which was necessary to an understanding of the effects of the transactions

21 on the financial statements.

22          136. In disregard of their fiduciary responsibility to shareholders, the Individual
23 Defendants flagrantly violated the provisions of CannaVest’s Code Of Business Conduct

24 which provide that:

25                (a)    “Senior Financial Officers will exhibit and promote high standards of
26 honest and ethical conduct”

27

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 1                (b)    “Senior Financial Officers . . . will prohibit and eliminate the
 2 appearance or occurrence of conflicts between what is in the best interest of the

 3 Company and what could result in material personal gain for a member of the

 4 Company’s financial organization, including Senior Financial Officers.”

 5                (c)    “Senior Financial Officers will establish and manage the Company’s
 6 transaction and reporting systems and procedures to ensure that:

 7                       •      Business transactions are properly authorized and recorded on
 8                the Company’s books and records in accordance with GAAP and
 9                established company financial policies.
10                       •      Periodic financial communications and other documents
11                reports filed with, or submitted to, the U.S. Securities and Exchange
12                Commission, and other public communications by the Company, are
13                delivered in a manner that facilitates full, fair, accurate, timely and
14                understandable disclosure so that readers and users can reasonably quickly
15                and accurately determine their significance and consequences.”
16
            137. On February 15, 2014, CannaVest issued a press release touting its
17
      subsidiary PhytoSphere’s increased production capabilities. The release entitled
18
      “PhytoSPHERE Systems, a CannaVest Corp. Subsidiary, Significantly Increased Hemp
19
      Oil Production for 2014, PhytoSPHERE Systems Increases Production by Over 1500%
20
      From 2013” provided in part:
21
            LAS VEGAS, Feb. 5, 2014 (GLOBE NEWSWIRE) -- CannaVest Corp.
22          (OTC:CANV), the world's leading cannabis-based investment company
            spearheading the development of cannabidiol (CBD)-rich hemp oils and
23
            other industry-related products and services, is pleased to announce that its
24          subsidiary, PhytoSPHERE Systems, has increased its industrial hemp oil
            production over 1500% for the 2014 season. The company has also
25
            increased its production capabilities to concentrate these hemp oils into
26          high value CBD-rich hemp oils, from the rate of several kilograms per
            batch production cycle in 2013 to over twenty tons per batch production
27
            cycle for 2014.
28

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 1          "With this drastic increase in our production and our refining capabilities,
 2
            we will continue to be able to significantly decrease our production costs
            and increase our operating margins," stated Michael Mona Jr., President
 3          and Chairman of the Board for CannaVest Corp. "The market interest in
 4          CBD-rich hemp oils has significantly increased over the past year, due in
            large part to the many remarkable documentaries and publicity surrounding
 5          the positive benefits of cannabis, specifically natural cannabidiol. We are at
 6          the forefront of hemp oil production today, and as the legal markets
            continue to expand we are one of the few companies actually able to
 7          capture and benefit from that increased demand."
 8
            138. The above statements in each of the 2013 Forms 10-Q and in the June 20,
 9
      2013 and February 15, 2014 press releases were materially false and misleading when
10
      made because they misrepresented and failed to disclose the following adverse facts,
11
      which were known to Defendants or recklessly disregarded by them:
12
            (a)    that the price of CannaVest’s stock was artificially inflated as a result of
13
      Defendants’ manipulation;
14
            (b)    that the Company misrepresented the value of the PhytoSphere transaction;
15
            (c)    that the Company omitted the related party source of, and inflated, its sales
16
      and revenues;
17
            (d)    that the Company misrepresented, and overstated, the amount of its
18
      goodwill and intangible assets;
19
            (e)    that the Company misrepresented that CannaVest’s financial statements
20
      complied with GAAP when they did not; and
21
            (f)    that the Company materially omitted that CannaVest’s revenues in first,
22
      second and third quarters 2013 were generated from sales to Medical Marijuana, Inc., a
23
      related party.
24
                       BREACH OF FIDUCIARY DUTY IS REVEALED
25
            139. On March 6, 2014, CannaVest issued a press release entitled “CannaVest
26
      Corp. Clarifies Relationships With General Hemp and Kannaway,” both companies
27
      controlled by Titus:
28

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 1          SAN DIEGO, March 6, 2014 (GLOBE NEWSWIRE) -- CannaVest Corp.
 2
            (OTC:CANV), the world's leading hemp-based investment company
            spearheading the development of cannabidiol (CBD)-rich hemp oils and
 3          other hemp industry-related products and services, would like to clarify its
 4          relationship with both General Hemp, LLC and Kannaway, LLC.

 5          Kannaway, LLC is marketed as a hemp lifestyle company with a focus on
 6          nutritional wellness whose products contain CBD rich hemp oil. Kannaway
            was founded in 2014 and is a wholly-owned subsidiary of General Hemp,
 7          LLC.
 8
            The sole owner of General Hemp is Stuart Titus. Mr. Titus formerly was a
 9          consultant and advisor to CannaVest, and currently owns less than 2% of
10          the outstanding shares of CannaVest. Mr. Titus no longer has any
            affiliation with CannaVest, and no person affiliated with General Hemp is
11          employed by CannaVest in any capacity. The sole relationship between
12          CannaVest and General Hemp is Mr. Titus' ownership of CannaVest stock.
            Products for Kannaway's business will exclusively be supplied by
13          HempMedsPX, LLC, which is a distributor of federally legal, hemp-based
14          CBD products and a wholly-owned subsidiary of Medical Marijuana, Inc.
            (MJNA). HempMeds is the master distributor and marketing company for
15          CannaVest. As a result, CannaVest's product offerings will be available to
16          Kannaway for its business. CannaVest has no ownership or other interest in
            Kannaway, and CannaVest solely will act as a supplier of products to
17          Kannaway.
18
            "We have received numerous telephone calls from the public leading us to
19          believe there is general confusion relating to our relationship to
20          Kannaway," says Michael Mona III, Vice President of Operations for
            CannaVest Corp. "Our business focus continues to be on being the world's
21          leading bulk CBD-rich hemp oil supplier, and we intend to continue selling
22          our product offerings to HempMeds, which ultimately will allow
            Kannaway to launch and sustain its business. We are excited that our
23          products will be available to consumers through the Kannaway model."
24
            140. In reaction to this news, CannaVest’s stock fell dramatically, closing at
25
      $85.01 on March 10, 2014 (March 8 and 9 fell on the weekend) from its closing price of
26
      $121 per share on March 6, 2014.
27

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 1          141. On March 14, 2014, Baystreet.ca Media Group Corp., an entity that follows
 2 marijuana stocks, reported on the dramatic drop in the price of CannaVest common

 3 stock:

 4          In other news, CannaVest Corp. (OTCQB: CANV) share volume soared
 5          Mar. 13, with 12,856 changing hands, significantly higher than its three-
            month average of 9,934 shares.
 6

 7          The surge in the Las Vegas-based developer of hemp-based nutritional
            products share volume and the downward trend of its stock's price appears
 8          to be tied to a Mar. 6 clarification of CannaVest's relationship with both
 9          General Hemp LLC and Kannaway LLC.

10          Clearing Up Confusion
11
            Here's an excerpt from the clarification:
12

13          Kannaway, LLC is marketed as a hemp lifestyle company with a focus on
            nutritional wellness whose products contain CBD rich hemp oil.Kannaway
14          was founded in 2014 and is a wholly-owned subsidiary of General Hemp,
15          LLC.

16          The sole owner of General Hemp is Stuart Titus. Mr. Titus formerly was a
17          consultant and advisor to CannaVest, and currently owns less than 2% of
            the outstanding shares of CannaVest. Mr. Titus no longer has any
18          affiliation with CannaVest, and no person affiliated with General Hemp is
19          employed by CannaVest in any capacity. The sole relationship between
            CannaVest and General Hemp is Mr. Titus' ownership of CannaVest stock.
20          Products for Kannaway's business will exclusively be supplied by
21          HempMedsPX, LLC, which is a distributor of federally legal, hemp-based
            CBD products and a wholly-owned subsidiary of Medical Marijuana, Inc.
22          (MJNA). HempMeds is the master distributor and marketing company for
23          CannaVest. As a result, CannaVest's product offerings will be available to
            Kannaway for its business. CannaVest has no ownership or other interest in
24          Kannaway, and CannaVest solely will act as a supplier of products to
25          Kannaway.
26          "We have received numerous telephone calls from the public leading us to
27          believe there is general confusion relating to our relationship to
28

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 1          Kannaway," says Michael Mona III, vice president of operations for
 2
            CannaVest Corp.

 3          On Mar. 13, CANV's share price closed at $83.00, down $7.00 from its
 4          close of $90.00 cents the previous day.

 5          142. On March 24, 2014, Gannet News Service published an article commenting
 6 on the decline in the price of CannaVest’s stock:

 7          Wall Street seems to be losing its appetite for pot.
 8
            Marijuana stocks were high fliers -- so to speak -- after Colorado and
 9          Washington legalized recreational use and several other states announced
10          they may legalize sales or decriminalize possession. Shares in about 20
            marijuana-related companies soared, with some gaining more than
11          700(PERCENT) off 52-week lows.
12
            But marijuana mania is fading as investors realize there's more smoke than
13          fire at many companies, which show "pot-tential" but little actual revenue.
14          CannaVest, which specializes in industrial hemp production, had climbed
            to $201 a share last month. It closed up 11(PERCENT) to $68.10 Friday,
15          but it's lost nearly two-thirds of its market value.
16
            143. On March 26, 2014, CannaVest filed with the SEC a Form 8-K disclosing
17
      the following:
18
            Item 5.02 Departure of Directors or Certain Officers; Election of Directors;
19          Appointment of Certain Officers; Compensatory Arrangements of Certain
20          Officers.
21          On March 21, 2014, Karen Epstein resigned as the Treasurer and Secretary
22          of CannaVEST Corporation (the “Company”). Her resignation did not
            result from any disagreement with the Company.
23

24          On March 21, 2014, the Board of Directors of the Company appointed
            Allen Shubat, age 59, as the Treasurer and Secretary of the Company. Mr.
25          Shubat is experienced in streamlining operations and improving internal
26          control over financial reporting, with an emphasis in corporate
            consolidations in the U.S. and globally. Mr. Shubat is a 20-plus year
27          veteran working with biofuel, telecommunications, real estate investment,
28          development, and property management firms. From 2012 to 2014, Mr.

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 1          Shubat was Controller for SG Biofuels, Inc., where he coordinated GAAP
 2
            consolidated financial statements and investments in three countries. From
            2008 to 2011, Mr. Shubat was Controller for PacVentures where he
 3          oversaw accounting for 40+ business units in 5 states and 3 satellite
 4          offices, providing consolidated financial statements, tax and audit work
            papers. Mr. Shubat also previously worked for TelMex USA, LLC, a
 5          Carlos Slim subsidiary. There he tracked a $200MM investment portfolio
 6          in the U.S. and in South American countries. Mr. Shubat’s extensive
            business and accounting background makes him a valuable addition to the
 7          Company.
 8
            144. On March 27, 2014, the price of CannaVest’s stock closed at $47.50 per
 9
      share, down from of it closing price of $60 on March 25, 2014.
10

11          145. On April 3, 2014, CannaVest filed a Form 8-K with the SEC announcing
12 that it had misreported its financial position and misreported its results of operations in

13 its financial statements in the Company’s Forms 10-Q for the quarters ended March 31,

14 2013, June 30, 2013, and September 30, 2013, and as such, the 2013 First, Second, and

15 Third Quarter Forms 10-Q, including the financial statements contained therein, could

16 no longer be relied upon. More specifically, the press release stated, in part:

17          The Company has determined that it is necessary to correct such errors
            because the allocation methodology used by management, resulting
18
            carrying amount of intangible assets and goodwill, and the resulting
19          amortization cost and goodwill impairment were not in accordance with
            GAAP. Further, sales and cost of sales for the quarter ended March 31,
20
            2013 were misstated. The Company will restate the Company’s Quarterly
21          Reports on Form 10-Q for the quarters ended March 31, 2013, June 30,
            2013 and September 30, 2013.
22

23 (Emphasis added).

24
            146. In reaction to this adverse disclosure, on April 3, 2014 shares of the
25
      Company’s stock fell $7.30 per share, or more than 20%, to close at $25.30 per share.
26
            147. On April 3, 2014, the Street.com reported on the stock drop in an article
27
      entitled “Why CannaVEST (CANV) Stock Is Down Today: CannaVEST (CANV) stock
28

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 1 is down Thursday after filing a report showing that it made material errors in its 10-Qs

 2 for the first three quarters of 2013”:

 3          NEW YORK (TheStreet) -- CannaVEST Corp stock is down 20.46% to
 4          $25.50 Thursday after filing a report showing that it made material errors
            in its 10-Qs for the first three quarters of 2013.
 5

 6          The report states the company "concluded that the previously issued
            financial statements contained in the company's quarterly reports on Form
 7          10-Q for the quarters ended March 31, 2013, June 30, 2013 and September
 8          30, 2013 should no longer be relied upon because of errors related to the
            purchase price and the purchase price allocation for the assets acquired
 9          related to the PhytoSPHERE Systems."
10
            The company determined the purchase price disclosed on the 10-Q forms
11          "were not in accordance with accounting principles generally accepted in
12          the U. S."

13          CannaVest, a business which develops and sells products containing hemp,
14          concluded their sales and cost of sales for March 31, 2013 were incorrect.

15          148. On April 14, 2014, CannaVest filed an Amended Form 8-K, stating in
16 greater detail the circumstances of Defendants’ misrepresentations. The Amended Form

17 8-K disclosed:

18          Non-Reliance on Previously Issued Financial Statements or a Related
19          Audit Report or Completed Interim Review
20          On March 28, 2014, management of CannaVEST Corp. (the “Company”)
21          concluded that the previously issued financial statements contained in the
            Company’s Quarterly Reports on Form 10-Q for the quarters ended March
22          31, 2013, June 30, 2013 and September 30, 2013 (the “Forms 10-Q”)
23          should no longer be relied upon because of errors related to the purchase
            price and the purchase price allocation for the assets acquired (the Assets”)
24          related to PhytoSPHERE Systems, LLC (“PhytoSPHERE”). Specifically,
25          management determined that the purchase price and the allocation of the
            purchase price as previously disclosed in the Forms 10-Q were not in
26          accordance with accounting principals generally accepted in the United
27          States (“GAAP”). The Company initially reported the acquisition of the
            Assets (the “Transaction”) based on the negotiated purchase price of $35
28

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 1          million which had a floor and ceiling locked on the value of the Company’s
 2
            common stock to be issued of between $4.50 and $6.00, as reflected in the
            Agreement for Purchase and Sale of Assets entered into by the Company
 3          and PhytoSPHERE. In reviewing the price that the Company’s common
 4          stock was trading at during the year, management determined that although
            the negotiated price of the Transaction was $35 million, that price may not
 5          represent the fair market value of the Assets acquired. As a result,
 6          management determined that obtaining a valuation of the Assets would be
            required in order to determine the fair value of the Assets acquired. The
 7          valuation resulted in a fair value of approximately $8 million. Accordingly,
 8          management concluded that the valuation of $8 million for the Assets to be
            the most reliable measure of fair value of the Transaction for the Company.
 9          In addition, management determined that sales and cost of sales for the
10          quarter ended March 31, 2013 were incorrect.

11          The Company has determined that it is necessary to correct such errors for
12          the adjusted value of the Transaction and the shares of the Company’s
            common stock issued and to adjust the asset allocation methodology for the
13          Transaction as originally determined by management. As a result, the
14          carrying amount of intangible assets and goodwill in the Company’s
            condensed consolidated balance sheets filed with the Forms 10-Q will be
15          reduced. Further, the resulting amortization cost recorded to the condensed
16          consolidated statements of operations filed with the Forms 10-Q will be
            decreased by $241,167, $367,825 and $323,730 for the quarters ended
17          March 31, 2013, June 30, 2013 and September 30, 2013, respectively. The
18          restated amortization cost will be $137,000, $205,500 and $205,500 for the
            quarters ended March 31, 2013, June 30, 2013 and September 30, 2013,
19          respectively, resulting in $548,000 total amortization expense as opposed
20          to $1,480,722 as originally reported.
21          Goodwill was reported as $26,998,125 at March 31, 2013 and June 30,
22          3013, in the condensed consolidated balance sheets with an impairment of
            goodwill in the amount of $26,998,125 recorded in the condensed
23          consolidated statement of operations for the quarter ended September 30,
24          2013. Goodwill will be restated as $1,855,512 and there will be no
            impairment to goodwill recorded. Therefore, as restated, goodwill will be
25          reported as $1,855,512 on the condensed consolidated balance sheets as of
26          March 31, 2013, June 30, 2013 and September 30, 2013.
27          In addition to the adjustments to the Transaction accounting, sales and cost
28          of sales for the quarter ended March 31, 2013 were misstated. Sales

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 1          originally were reported as $1,275,000 will be restated to $1,082,375,
 2
            representing a reduction of $192,625. This amount is being restated to
            correct an error whereby the sales value of good transferred for
 3          manufacturing was included in sales. Cost of goods sold were reported as
 4          $501,500 for the quarter ended March 31, 2013, and will be restated to
            $205,450, representing a reduction of $296,050. The restatement to cost of
 5          goods sold is to correct an error related to the cost of inventory sent for
 6          manufacturing in the amount of $39,865 being included in cost of goods
            sold and $256,185 relating to errors related to calculating ending inventory.
 7          Sales and cost of sales for the quarters ended June 30, 2013 and September
 8          30, 2013 will not be restated.

 9          As originally reported in the Forms 10-Q, operating expenses were
10          $435,559, $1,131,660 and $27,998,112 for the three (3)-month periods
            ended March 31, 2013, June 30, 2013, and September 30, 2013,
11          respectively. Operating expenses will be restated to $194,342, $419,002
12          and $791,369 for the three (3)-month periods ended March 31, 2013, June
            30, 2013 and September 30, 2013, respectively, for a total of $1,404,763
13          for the nine months ended September 30, 2013, representing a total
14          reduction of operating expenses of $27,930,846 from what was originally
            reported.
15

16          The Company will restate the financial statements contained in the Forms
            10-Q and file these restatements prior to filing its Quarterly Report on
17          Form 10-Q for the quarter ended March 31, 2014, which is due to be filed
18          by May 15, 2014.
19          The decision to restate the disclosure and the underlying issues discussed
20          above were discussed by the Company’s Chief Executive Officer with the
            Company’s independent registered public accounting firm. The decision to
21          restate the disclosure was made after discovery of such errors relating to
22          the Company’s disclosures and the aforementioned discussions were held
            with the Company’s independent registered public accounting firm prior to
23          the filing on March 28, 2014, of the Company’s Annual Report on Form
24          10-K for the fiscal year ended December 31, 2013 (the “Form 10-K”). The
            Form 10-K, Item 9A “Controls and Procedures”, disclosed that
25          management was aware of a deficiency related to the improper
26          determination of the purchase price allocation for the Assets, and stated
            that the Forms 10-Q could not be relied upon as a result of including
27          materially incorrect information.
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 1          149. After this disclosure, the price of shares of the Company’s stock fell again,
 2 this time by $4.49 per share, or 19.5%, to close at $18.51 per share.

 3          150.   On April 24, 2014, CannaVest filed its restated financial statements for the
 4 first, second, and third quarters of 2013 with the SEC on three separate Forms 10-Q/A.

 5          151. Finally, on April 25, 2014, the Company announced that it had filed
 6 restated financial statement statements for the quarters ended March 31, 2013, June 30

 7 2013 and September 30, 2013. Specifically, CannaVest stated in part as follows:

 8          The purpose of the restatement is to address the following items, which the
 9          Company has identified as requiring correction:
10          Recognition of Revenue
11
            The financial statements for the quarter ended March 31, 2013 reflected
12          revenue and accounts receivable of $192,625 and cost of goods sold of
13          $296,050 that should not have been recognized. Revenues and accounts
            receivable in the amount of $192,625 related to the sales value of inventory
14          that was transferred to a manufacturer for inclusion in finished goods and
15          an error in calculating the price of the ending inventory as of the end of the
            period. The amount of $39,865 was related to the cost of inventory sent for
16          manufacturing being included in cost of goods sold and $256,185 related to
17          errors related to calculating ending inventory.
18          Prepaid Inventory
19
            A portion of the prepaid inventory purchased as part of the Company’s
20          acquisition of assets from PhytoSPHERE Systems, LLC
21          (“PhytoSPHERE”) was not included in the financial statements as of
            March 31, 2013. The resulting understatement of prepaid inventory was
22          $1,260,510.
23
            Inventory
24          Inventory as originally reported in the financial statements ended March
25          31, 2013, was understated by $125,027. This was a result of an
            overstatement of cost of goods sold in the amount of $296,050, offset by an
26          adjustment for the value of inventory acquired from PhytoSPHERE in the
27          amount of $171,023.
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 1          Value of Intangible Assets
 2
            Intangible assets as presented in the financial statements as of March 31,
 3          June 30 and September 30, 2013 were in error. As determined by the
 4          valuation of the assets purchased from PhytoSPHERE, intangible assets
            totaled $4,110,000. Net intangible assets previously reported at March 31,
 5          2013 were $33,656,833, which represents an overstatement of
 6          $29,683,833. Net intangible assets previously reported at June 30, 2013
            were $4,995,895, which represents an overstatement of $1,228,395 and net
 7          intangible assets previously reported at September 30, 2013 were
 8          $4,466,666, resulting in an overstatement of $904,666.

 9          Goodwill
10
            As determined by the valuation of assets purchased from PhytoSPHERE,
11          the value of goodwill was $1,855,512. The Company did not report any
12          goodwill as of March 31, 2013, which resulted in an understatement of
            $1,855,512. At June 30, 2013, the Company reported goodwill in the
13          amount of $26,998,125, resulting in an overstatement of goodwill of
14          $25,142,613. At September 30, 2013, the Company recorded impairment
            of goodwill in the amount of $26,998,125, resulting in a carrying value of
15          $0. This resulted in an understatement of goodwill in the amount of
16          $1,855,512.
17          Amount Due to PhytoSPHERE Systems; Additional Paid in Capital
18
            The amount due to PhytoSPHERE was originally reported as $35 million,
19          pursuant to the terms of the agreement. Shares to be issued as payment
20          under the transaction were at a set per share price between $4.50 and $6.00.
            Subsequently, a valuation determined the price of the transaction to be
21          $8,020,000, which resulted in a per share price of $1.21 per share based on
22          the valuation obtained. Therefore, for the Company’s financial reports, the
            amount due to PhytoSPHERE was adjusted to $8,020,000 and the shares
23          issued as payment pursuant to the transaction were adjusted to $1.21 per
24          share. This resulted in an overstatement of the amount due PhytoSPHERE
            and paid-in capital of $23,572,360 and $3,407,640, respectively at March
25          31, 2013; $18,786,094 and $8,193,906, respectively at June 30, 2013; and
26          $5,185,120 and $21,794,880, respectively at September 30, 2013.
27          ///
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 1          Amortization Expense
 2
            The restatement of the value of intangible assets has resulted in the
 3          overstatement of amortization expense for the quarters ended March 31,
 4          June 30 and September 30, 2013 in the amount of $241,167, $367,825 and
            $323,730, respectively. The overstatement of amortization expense was
 5          $608,992 for the six months ended June 30, 2013 and $932,722 for the nine
 6          months ended September 30, 2013.

 7          Impairment of Goodwill
 8
            The Company originally reported $26,998,125 as an impairment to
 9          goodwill for the quarter ended September 30, 2013. The Company did not
10          record an impairment to goodwill in its restated financial statements. This
            resulted in an overstatement of operating expenses of $26,998,125 for the
11          three and nine months ended September 30, 2013.
12          Research & Development Expenses

13          For the quarter ended September 30, 2013, the Company included
14          $137,496 in research and development expenses as a part of general and
            administrative expenses. This amount has been reported as research and
15          development expenses in the restated financial statements.
16
            The cumulative impact on the Company’s financial statements are
17          described in more detail below.
18
            152. On or about November 24, 2014, the Company received a subpoena from
19
      the SEC requesting certain documents and information.
20
            153. In the related securities fraud action, the court in the Southern District of
21
      New York (“SDNY Court”) issued a written Memorandum Opinion and Order on March
22
      31, 2018 which denied in the main the motion to dismiss filed in that action by
23
      Defendants CannaVest and Mona.
24
            154. In addition, the SEC brought an action against Defendants CannaVest and
25
      Mona in the District of Nevada, Civil Action No. 2:17-cv-01681 (“SEC Action”).
26
            155. The SEC Action has been settled in principal though the SEC
27
      commissioners have not finished their review of the proposed settlement.
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 1             DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
 2          156. Plaintiffs bring this action derivatively in the right and for the benefit of the
 3 Company to redress injuries suffered and to be suffered as a direct and proximate result

 4 of the breaches of fiduciary duties and gross mismanagement by the Individual

 5 Defendants.

 6          157. Plaintiffs will adequately and fairly represent the interests of the Company
 7 and its shareholders in enforcing and prosecuting its rights and has retained counsel

 8 competent and experienced in derivative litigation.

 9          158. Plaintiffs are current owners of the Company stock and have continuously
10 been an owner of Company stock during all times relevant to the Individual Defendants’

11 wrongful course of conduct alleged herein. Plaintiffs understand their obligation to hold

12 stock throughout the duration of this action and are prepared to do so.

13          159. During the illegal and wrongful course of conduct at the Company and
14 through the present, the Board consisted of the Individual Defendants. Because of the

15 facts set forth throughout this Complaint, demand on the Company Board to institute

16 this action is not necessary because such a demand would have been a futile and useless

17 act.

18          160. The Company Board is currently comprised of three (3) members –
19 Defendants Mona, MacKay, and Raskin. Thus, Plaintiffs are required to show that a

20 majority of the Demand Defendants, i.e., two (2), cannot exercise independent objective

21 judgment about whether to bring this action or whether to vigorously prosecute this

22 action.

23          161. Defendants Mona and Mackay face a substantial likelihood of liability in
24 this action because they caused the Company to issue false and misleading statements

25 concerning its financial results and future prospects.          Because of their advisory,
26 executive, managerial, and directorial positions with the Company, Defendants Mona

27 and Mackay had knowledge of material non-public information regarding the Company

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 1 and was directly involved in the operations of the Company at the highest levels.

 2          162. Defendants Mona and Mackay either knew or should have known of the
 3 false and misleading statements that were issued on the Company’s behalf and took no

 4 steps in a good faith effort to prevent or remedy that situation.

 5          163. The Individual Defendants (or at the very least a majority of them) cannot
 6 exercise independent objective judgment about whether to bring this action or whether

 7 to vigorously prosecute this action. For the reasons that follow, and for reasons detailed

 8 elsewhere in this Complaint, Plaintiffs have not made (and should be excused from

 9 making) a pre-filing demand on the Board to initiate this action because making a
10 demand would be a futile and useless act.

11          164. Defendants Mona and Mackay approved and/or permitted the wrongs
12 alleged herein to have occurred and participated in efforts to conceal or disguise those

13 wrongs from the Company’s stockholders or recklessly and/or with gross negligence

14 disregarded the wrongs complained of herein and are therefore not disinterested parties.

15          165. Defendants Mona and Mackay authorized and/or permitted the false
16 statements to be disseminated directly to the public and made available and distributed

17 to shareholders, authorized and/or permitted the issuance of various false and misleading

18 statements, and are principal beneficiaries of the wrongdoing alleged herein, and thus,

19 could not fairly and fully prosecute such a suit even if they instituted it.

20          166. Because of their participation in the gross dereliction of fiduciary duties,
21 and breaches of the duties of due care, good faith, and loyalty, Defendants Mona and

22 Mackay are unable to comply with their fiduciary duties and prosecute this action. They

23 are in a position of irreconcilable conflict of interest in terms of the prosecution of this

24 action and defending themselves in the securities fraud class action lawsuit brought

25 under the Securities Exchange Act of 1934.

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 1          167. Additionally, each of the Individual Defendants received payments,
 2 benefits, stock options, and other emoluments by virtue of their membership on the

 3 Board and their control of the Company.

 4           The Individual Defendants Are Not Independent or Disinterested
 5 Defendant Mona

 6          168. Defendant Mona is not disinterested or independent, and therefore, is
 7 incapable of considering demand because Defendant Mona (as President and CEO) is an

 8 employee of the Company who derives substantially all of his income from his

 9 employment with CannaVest, making him not independent. As such, Defendant Mona
10 cannot independently consider any demand to sue himself for breaching his fiduciary

11 duties to CannaVest, because that would expose him to liability and threaten his

12 livelihood.

13          169. Accordingly, Defendant Mona lacks independence from Defendants
14 Mackay and Raskin, defendants who are not disinterested and who exert influence over

15 defendant Mona’s compensation by virtue of their positions as representing the entire

16 Compensation Committee.

17          170. This lack of independence and financial benefits received by Defendant
18 Mona renders him incapable of impartially considering a demand to commence and

19 vigorously prosecute this action.

20          171. Further, Defendant Mona owns 2,250,000 shares (6.69% of the beneficially
21 owned shares) of Company stock. Where, as here, the controlling shareholder is a

22 named defendant, demand futility is presumed.

23          172. Further, on March 1, 2013, Defendants Mona and Mackay caused the
24 Company to issue a Promissory Note (the “Note”) to Roen Ventures, LLC (“Roen

25 Ventures”) in exchange for loans provided and to be provided in the future in an amount

26 of up to $2,000,000, subsequently increased to $6,000,000.

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 1          173. Defendant Mona was, during the Relevant Period, a member of Roen
 2 Ventures.

 3          174. As of December 31, 2013, the principal balance of the Note was
 4 $6,092,069.

 5          175. On January 27, 2014, the Company converted $6,000,000 of the Note
 6 balance into 10,000,000 shares of common stock of the Company pursuant to the terms

 7 of the Note, as amended.

 8          176. On January 28, 2014, Defendants Mona and Mackay caused the Company
 9 to repay Roen Ventures accrued interest on the Note in the amount of $187,453 and
10 principal under the Note in the amount of $92,069.

11 Defendant Mackay

12          177. Defendant Mackay owns 16,839,518 shares (50.10 % of the beneficially
13 owned shares) of Company stock. Where, as here, the controlling shareholder is a

14 named defendant, demand futility is presumed.

15          178. Defendant MacKay is a member of Roen Ventures.
16 Litigation Against CannaVest, Mona and Roen Ventures

17          179. On March 8, 2008, Far West Industries (“Far West”) sued Mona and others
18 for damages resulting from fraud arising out of a land transaction in California (the

19 “California Action”).

20          180. On February 23, 2012, a judgment was entered in the California Action in
21 favor of Far West against Mona and others in the amount of $17,777,562.

22          181. On October 18, 2012, the judgment in the California Action was
23 domesticated in Nevada and enforcement proceedings commenced including, but not

24 limited to an examination of Mona as a judgment debtor, and garnishments of various

25 accounts belonging to Mona.

26          182. On February 20, 2014, Far West filed a Second Amended Complaint in
27 District Court, Clark County, Nevada entitled Far West Industries v. CannaVest Corp.,

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 1 Roen Ventures, LC, Michael Mona, Jr., and Bart Mackay, Case No.: A-14-695786-C

 2 (“Far West action”).

 3          183. Though CannaVest has been dismissed from the Far West action, The Far
 4 West Complaint alleged that in the judgment debtor exam, Mona testified, among other

 5 things, that in 2013, he received in excess of $3 million from a brokerage account, which

 6 he then loaned to Roen Ventures, and which was then loaned by Roen Ventures to

 7 CannaVest,

 8          184. The Far West action further alleged that Mona also testified during that
 9 proceeding that after the $3 million was loaned from Roen Ventures to CannaVest,
10 Mackay offered Mona $500,000 to buy the note that Mona made to Roen Ventures and

11 to buy out Mona’s interest in Roen Ventures.

12          185. The Far West action further alleged that Mona agreed, and for the sum of
13 $500,000, sold Roen Ventures’ $3 million debt along with Mona’s interest in Roen

14 Ventures to MacKay.

15 Defendant Raskin

16          186. Defendant Raskin owns 400,000 shares (1.19% of beneficially owned
17 shares) of Company stock.

18          187. Below is a summary of the percent of the Company common stock
19 beneficially owned (see DEF14A, dated July 2, 2014):

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 1                               FIRST CAUSE OF ACTION
 2          (Against The Individual Defendants for Breach of Fiduciary Duties)
 3          188. Plaintiffs incorporate by reference and re-allege each and every allegation
 4 contained above, as though fully set forth herein.

 5          189. The Individual Defendants owe the Company fiduciary obligations. By
 6 reason of their fiduciary relationships, the Individual Defendants owed and owe the

 7 Company the highest obligation of good faith, fair dealing, loyalty, and due care.

 8          190. The Individual Defendants violated and breached their fiduciary duties of
 9 care, loyalty, reasonable inquiry, and good faith.
10          191. The Individual Defendants engaged in a sustained and systematic failure to
11 properly exercise their fiduciary duties. Among other things, the Individual Defendants

12 breached their fiduciary duties of loyalty and good faith by allowing the Company to

13 improperly misrepresent the Company’s publicly reported financials. These actions

14 could not have been a good faith exercise of prudent business judgment to protect and

15 promote the Company’s corporate interests.

16          192. As a direct and proximate result of the Individual Defendants’ failure to
17 perform their fiduciary obligations, the Company has sustained significant damages. As

18 a result of the misconduct alleged herein, the Individual Defendants are liable to the

19 Company.

20          193. As a direct and proximate result of the Individual Defendants’ breach of
21 their fiduciary duties, the Company has suffered damage, not only monetarily, but also

22 to its corporate image and goodwill. Such damage includes, among other things, costs

23 associated with defending securities lawsuits, severe damage to the share price of the

24 Company, resulting in an increased cost of capital, the waste of corporate assets, and

25 reputational harm.

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 1                              SECOND CAUSE OF ACTION
 2            (Against The Individual Defendants for Gross Mismanagement)
 3          194. Plaintiffs incorporate by reference and re-allege each allegation contained
 4 above, as though fully set forth herein.

 5          195. By their actions alleged herein, the Individual Defendants, either directly or
 6 through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary

 7 duties with regard to prudently managing the assets and business of the Company in a

 8 manner consistent with the operations of a publicly held corporation.

 9          196. As a direct and proximate result of the Individual Defendants’ gross
10 mismanagement and breaches of duty alleged herein, the Company has sustained

11 significant damages in excess of millions of dollars.

12          197. Because of the misconduct and breaches of duty alleged herein, the
13 Individual Defendants are liable to the Company.

14                               THIRD CAUSE OF ACTION
15               (Against The Individual Defendants for Abuse of Control)
16          198. Plaintiffs incorporate by reference and re-allege each and every allegation
17 set forth above, as though fully set forth herein.

18          199. The Individual Defendants’ misconduct alleged herein constituted an abuse
19 of their ability to control and influence the Company, for which they are legally

20 responsible.

21          200. As a direct and proximate result of the Individual Defendants’ abuse of
22 control, the Company has sustained significant damages. As a direct and proximate

23 result of the Individual Defendants’ breaches of their fiduciary obligations of candor,

24 good faith, and loyalty, the Company has sustained and continues to sustain significant

25 damages. As a result of the misconduct alleged herein, the Individual Defendants are

26 liable to the Company.

27 ///

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 1          201. The acts and omissions of the Individual Defendants complained of in this
 2 Count have been undertaken willfully, knowingly, and maliciously, and/or with reckless

 3 disregard for their respective civil obligations, and accordingly the Company is entitled

 4 to recover punitive damages with respect to this Count.

 5                             FOURTH CAUSE OF ACTION
 6              (Against The Individual Defendants For Unjust Enrichment)
 7          202. Plaintiffs incorporates by reference and re-allege each and every allegation
 8 set forth above, as though fully set forth herein.

 9          203. During the Relevant Period, the Individual Defendants received bonuses,
10 stock options, and/or similar such compensation from the Company that were tied to the

11 financial performance of the Company. The Individual Defendants were unjustly

12 enriched thereby.

13          204. To remedy the Individual Defendants’ unjust enrichment, this Court should
14 order them to disgorge their unjustly obtained bonuses and compensation.

15          205. The acts and omissions of the Individual Defendants complained of in this
16 Count have been undertaken willfully, knowingly, and maliciously, and/or with reckless

17 disregard for their respective civil obligations, and accordingly the Company is entitled

18 to recover punitive damages with respect to this Count.

19                                 REQUEST FOR RELIEF
20          WHEREFORE, Plaintiffs demand judgment as follows:
21                A.     Determining that this action is a proper derivative action
22          maintainable under law, and that demand is excused;
23                B.     Awarding, against all the Individual Defendants and in favor of the
24          Company, the damages sustained by the Company as a result of the Individual
25          Defendants’ breaches of their fiduciary duties;
26                C.     Directing the Company to take all necessary actions to reform and
27          improve its corporate governance and internal procedures, to comply with the
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 1          Company’s existing governance obligations and all applicable laws and to protect
 2          the Company and its investors from a recurrence of the damaging events
 3          described herein;
 4                D.     Awarding to Plaintiffs the costs and disbursements of the action,
 5          including reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and
 6          expenses; and
 7                E.     Granting such other and further relief as the Court deems just and
 8          proper.
 9                                       JURY DEMAND
10          Plaintiffs demand a trial by jury on all issues so triable.
11 Dated: May 30, 2018

12                                     Respectfully submitted,
13
                                       MATTHEW L. SHARP, LTD.
14

15                              By:          /s/ Matthew L. Sharp
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27

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